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Acquaye, Nii-Akwei    2001-2002 HFT                  109:15 Q Let's maybe just back up and let me restate the            109
Plaintiff                        Minnetonka, MN         16    question. Did Mr. Henstrom ever . . .
                                                        ***
05/02/97 - 03/00/02                                     20 Q        . . . author any documents that you thought
                                                        21    were discriminatory in any way?
                                                        22 A Yes, I believe so.
                                                        23 Q And what was that?
                                                        24 A My performance reviews that were carried on from
                                                        25    Bruce Leslie's group.

Acquaye, Nii-Akwei       2001      SFI                166: 3 Q You indicate that you learned that there was a            166
Plaintiff                          Minnetonka, MN       4     forced ranking of you in SFI?
                                                        5 A Yes.
05/02/97 - 03/00/02                                     6 Q And who were you compared to?
                                                        7 A My understanding -- Bruce Leslie didn't list
                                                        8     everyone I was compared to, but his comments to me
                                                        9     were that he had to force rank business
                                                        10     development managers so my assumption was that it
                                                        11     was Paul Vajda and possibly Ray Banks.




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Acquaye, Nii-Akwei    2001-2002 SFI                  240: 4 Q And for what period of time would you say Mr. Ryan       240, 242-43
Plaintiff                        Minnetonka, MN         5    was your mentor?
                                                        6 A Mr. Ryan was my mentor until I left to go to
05/02/97 - 03/00/02                                     7    Bangladesh.
                                                        8 Q And during the time that he was your mentor how
                                                        9    many times would you say you met with him?
                                                        10 A I would say about three times.
                                                        11 Q Did you ever ask him to take any action on your
                                                        12    behalf?
                                                        13 A I believe I did.
                                                        14 Q What did you ask him to do?
                                                        15 A I believe I asked him to investigate for me on my
                                                        16    behalf what was going on between Bruce Leslie and
                                                        17    myself.
                                                        ***
                                                     242: 14 Q And what did he tell you regarding the information
                                                        15    you conveyed about your review, mid-year review?
                                                        16 A What Stan Ryan said was whatever the issue was was
                                                        17    going to be between myself and my supervisor,
                                                        18    meaning Bruce Leslie. He said he wanted to leave
                                                        19    it at that and what he felt his role was was just
                                                        20    to be a sounding board for me.
                                                        21            And he went on to comment that I should
                                                        22    do everything I can to meet the expectations of
                                                        23    Bruce Leslie. That is why I took the classes I
                                                        24    took, that is why I signed up for Dale Carnegie,
                                                        25    that is why I went to Kellogg, that is why I did
                                                     243: 1 everything I could to try to meet those
                                                        2    expectations.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                Source
Acquaye, Nii-Akwei    2000-2001 SFI                  282: 1 Q And why did you feel that the performance reviews          282-83
Plaintiff                        Minnetonka, MN          2   were discriminatory?
                                                         3 A I felt that it was not only the performance
05/02/97 - 03/00/02                                      4   reviews but it was a combination of the comments
                                                         5   and the subsequent performance reviews. I felt
                                                         6   that my performance and presentations were good.
                                                         7   I didn't feel that but it was based on my
                                                         8   Caucasian colleagues' comments after my
                                                         9   presentations that brought me to the conclusion
                                                        10    that my presentations were good but I heard
                                                        11    differently from Bruce Leslie.
                                                        12 Q And what else about the performance reviews did
                                                        13    you feel was discriminatory?
                                                        14 A I also felt that putting me on the performance
                                                        15    improvement plan was discriminatory.
                                                        16 Q Why did you feel that his reviews of your
                                                        17    performance were discriminatory?
                                                        18 A His reviews of my performance contradicted a lot
                                                        19    of the comments I got from my close colleagues who
                                                        20    I worked with within SFI.
                                                        ***
                                                        23 A His comments. His comments to me in group
                                                        24    settings were, I felt, discriminatory when he
                                                        25    commented that, I am paraphrasing here, don't
                                                     283: 1     worry, we won't eat you.
                                                         2           Frankly, you know, for me that evoked a
                                                         3   lot of thoughts about what he meant by that. You
                                                         4   know, was it cannibalism? Was it a reference to
                                                         5   cannibalism? It was a reference to what? Those
                                                         6   were my thoughts.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                 Source
Acquaye, Nii-Akwei       2001    Minnetonka, MN      286: 3 Q And you indicated that you felt it was                    286
Plaintiff                                                4   discriminatory for Mr. Leslie to put you on a
                                                         5   performance improvement plan?
05/02/97 - 03/00/02                                      6 A That is correct.
                                                         7 Q Why did you feel that that was discriminatory?
                                                         ***
                                                        10 A I felt it was discriminatory because of the
                                                        11    activities that led up to it.
                                                        ***
                                                        13 Q Because you didn't feel that your performance was
                                                        14    evaluated fairly?
                                                        15 A That is correct.

Acquaye, Nii-Akwei      During   HFT                  356: 7 A Your question was how do I feel it has negatively        356
Plaintiff             Employment Minnetonka, MN         8     impacted African Americans compared to Caucasians?
                                                        9 Q Correct.
05/02/97 - 03/00/02                                     10 A I believe that the PMPs when they are set -- when
                                                        11     an employee is being evaluated with a PMP, first
                                                        12     of all, they are set with the manager and then
                                                        13     they are evaluated at the end of the period. When
                                                        14     they are set with the manager it is supposedly a
                                                        15     joint collaborative effort of the manager and the
                                                        16     employee.
                                                        17             Now, in my experience at the end of the
                                                        18     process managers have their leeway to go in and
                                                        19     add or change some of those criteria based on
                                                        20     which they evaluate their direct reports.
                                                        21             In that way I believe it has negatively
                                                        22     impacted African Americans as opposed to
                                                        23     Caucasians.




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Name / Empl. Dates   Time Frame Division / Location Evidence                                                                        Source
Allen, Sean             2001    Salt                206: 5                       . . . Looking at this                          206
Plaintiff                       Baltimore, MD          6 document now under the section "Challenge, Innovate,
                                                       7 Change" there's a comment that "I would like to see Sean
06/22/92 - present                                     8 challenge assumptions and" something "in better ways to
                                                       9 meet/exceed his customer expectations," and I don't know
                                                       10 what he based that opinion on, it wasn't explained to me.
                                                       11          But during the majority of the time that
                                                       12 Rick and I worked together, there were some pretty severe
                                                       13 problems at the production facility in Tampa and we
                                                       14 underwent a price increase in which Rick [Schonfelder Caucasian] said
                                                       15 that there aren't any exceptions to this price increase, don't try
                                                       16 and challenge it and then I was penalized for not
                                                       17 challenging. That was the main thing I could have
                                                       18 challenged with him in terms of policy.


Allen, Sean          2000-2001    Salt               207:22 Q. On page 1 of the document, which is actually                    207-08
Plaintiff                         Baltimore, MD        23 Bates numbered SA 0081 there's a note, a typed note that
                                                       24 says, "We have mapped out a formula plan so that Sean can
06/22/92 - present                                     25 develop himself so that he can be promoted in the next 12
                                                     208: 1 months."
                                                       ***
                                                       10           . . . This document was not put in front
                                                       11 of me. Rick [Schonfelder] and I met in November of 2000 and we had a
                                                       12 midyear review, we talked about the things that he's
                                                       13 talking about here. He then submitted the midyear review
                                                       14 and I didn't receive a copy of it and then we met in June
                                                       15 of 2001 and he had his comments written on his piece of
                                                       16 paper and he read what he thought his rating of me was,
                                                       17 you know, meets, for each behavioral competency in KRA,
                                                       18 and then asked me to sign the document.




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Allen, Sean            During   Salt                209:15 Q. Now, looking at the behavioral competency section        209-10
Plaintiff            Employment Baltimore, MD          16 of this PMP, what's specific about this behavioral
                                                       17 competency section do you think African Americans are
06/22/92 - present                                     18 less able to receive than Caucasians?
                                                       ***
                                                       25 A. I believe that the area on demonstrate respect,
                                                    210: 1 candor and commitment.
                                                        2 BY MS. ENG:
                                                        3 Q. Where is that, on which page?
                                                        4 A. On page 2, SA 0071. I think that to the extent
                                                        5 that African Americans are, the extent that African
                                                        6 Americans are very, use a lot of candor, although being
                                                        7 respectful but use candor when talking to others, that
                                                        8 can be held against them at review time because of
                                                        9 cultural differences.

Arnold, Roderick       During   Corn Milling          87:22 . . . The supervisor is required or                        87-88
Plaintiff            Employment Minnetonka, MN         23 is requested to have a number of mutual
                                                       24 experiences with their employees. But the
11/05/79 - present                                     25 supervisor would have to work extremely hard to
                                                      88: 1 know and understand what drives an employee or
                                                        2 what the employee is confronted with in their
                                                        3 job positions. So. . .
                                                        ***
                                                        5 . . . in most cases I would argue that
                                                        6 most supervisors don't have an idea or very good
                                                        7 idea of the issues that confront their
                                                        8 employees.
                                                        9 Q. So are you saying that it's categorically
                                                       10 impossible for supervisors to properly use the
                                                       11 PMP process?
                                                       12 A. It's not impossible, no. But what I am saying
                                                       13 is that most supervisors at Cargill are, number
                                                       14 one, not trained well enough. And, number two,
                                                       15 don't devote enough time to using or -- or
                                                       16 managing the PMP process so that they understand
                                                       17 what it -- what happens throughout the year with
                                                       18 their employee's performance.




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Arnold, Roderick       During   Corn Milling         91:15 Q. (By Ms. Symchych, continuing) I'm just asking              91-92
Plaintiff            Employment Minnetonka, MN         16 what facts you know to support your assertions
                                                       17 that there is racial bias employed in this PMP
11/05/79 - present                                     18 process.
                                                       19 A. Well, the facts that I've experienced are goals
                                                       20 which are called KRAs, or Key Results Areas,
                                                       21 that are established that are unattainable. At
                                                       22 least not all of them. So you -- you have to
                                                       23 pick, you know, which poison pill, if you will,
                                                       24 you're going to swallow at the end of the year.
                                                       25 The manager, in terms of his or her relationship
                                                     92: 1 with you, in terms of how well they like you or
                                                       2 dislike you, will either have -- they have
                                                       3 tremendous latitude on how many times they can
                                                       4 meet with you throughout the year. So that's --
                                                       5 that's just in my experience.

Arnold, Roderick       During   Corn Milling           92: 6     The behavioral competencies are all                     92
Plaintiff            Employment Minnetonka, MN           7 subjective in nature. So a manager decides,
                                                         8 well, you didn't communicate well with him or
11/05/79 - present                                       9 her. There is no -- no objective definition of
                                                        10 what communication really means. Do I
                                                        11 communicate with you five times a week? Do you
                                                        12 want a ten-page report at the end of each month?
                                                        13 Those things aren't -- aren't established in the
                                                        14 PMPs. And to the extent that there is some bias
                                                        15 or prejudice in -- in -- especially in the case
                                                        16 where you have a -- an African American versus a
                                                        17 Caucasian, where, you know, the perception and
                                                        18 culture is -- is different, there breeds
                                                        19 mistrust in areas of sub -- subjectivity. So if
                                                        20 -- if a manager doesn't -- doesn't feel that
                                                        21 you're doing things just like they want them
                                                        22 done, depending on how controlling that manager
                                                        23 is, that means -- at least in my case, I tend to
                                                        24 get less than -- a lower rating than I really
                                                        25 should get.




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Arnold, Roderick     1993-1993 Admin                310: 8 Q. My question really was do you regard yourself as              310
Plaintiff                       Cedar Rapids, IA       9 the only person who had the onus of gathering
                                                       10 together documentation and negotiating
11/05/79 - present                                     11 strategies before going into a performance
                                                       12 review session with Erdman?
                                                       13 A. I am -- I know that I had to gather specifically
                                                       14 with -- that I had to gather a large amount of
                                                       15 information for my performance review. And, to
                                                       16 my recollection, I didn't see where other
                                                       17 individuals who reported to Mr. Erdman had to do
                                                       18 the same.

Arnold, Roderick       During   Corn Milling          313:18    . . . [A]s an example, in -- in                             313
Plaintiff            Employment Minnetonka, MN          19     some of those reviews you can see where it says
                                                        20     Rod Arnold does not get back to customers in a
11/05/79 - present                                      21     timely manner. Yet under communication it says
                                                        22     I meet expectations in all areas. Communicates
                                                        23     well, listens well, responds in a timely manner.
                                                        24     So those are two very conflicting items listed
                                                        25     in -- on the same page.
Arnold, Roderick     1994-1996    Admin               327:19 Q. Okay. And you wanted to be measured differently             327-28
Plaintiff                         Cedar Rapids, IA      20 than the rest of the business unit?
                                                        21 A. Well, I -- I felt that that measurement was
11/05/79 - present                                      22 unattainable and inaccurate. So I wanted to be
                                                        23 measured effectively for doing our jobs
                                                        24 properly.
                                                        25 Q. Are you alleging or intending to allege that
                                                      328: 1 this KRA under customer satisfaction is a
                                                        2 racially discriminatory KRA?
                                                        3 A. No.
                                                        4 Q. Is there any KRA in Exhibit Number 3 that you
                                                        5 claim to be racially discriminatory?
                                                        6 A. Other than the sheer volume of key results.
                                                        7 Q. The sheer volume of key results you're claiming
                                                        8 is racially discriminatory?
                                                        9 A. I'm claiming that that was designed to -- to --
                                                        10 to make me fail and, as a result of that, what
                                                        11 would have caused damage to my career.
                                                        12 Q. What's the basis for your saying that the key
                                                        13 results were designed to make you fail?

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                                                         14 A. Well, the -- I think the recommendation in -- in
                                                         15 the PMP for establishing objectives is to have
                                                         16 five to seven objectives. And this -- if you
                                                         17 look at the -- just count each of those
                                                         18 paragraphs as one, there's a lot more than five
                                                         19 to seven. And I would submit that my peers and
                                                         20 -- and just take the same discipline of
                                                         21 distribution, did not have an equal amount.

Arnold, Roderick     1994, 1996   Admin               334: 3 Q. Is it your intention to be accusing Tom Erdman               334-35
Plaintiff                         Cedar Rapids, IA       4 of intentionally setting you up for failure?
                                                         5 A. I'm not accusing Tom Erdman as much as just
11/05/79 - present                                       6 identifying that the system and the way that the
                                                         7 system is executed by Cargill managers tends to
                                                         8 develop a bias against -- against employees that
                                                         9 -- that, if there is some perceived difference
                                                        10 in -- in any fashion that's -- that's not of the
                                                        11 typical Cargill mold, that creates a -- a black
                                                        12 mark against that employee.
                                                        ***
                                                        17 . . . And you have to remember
                                                        18 that a key component of my job was managing the
                                                        19 Customer Service Department or customer
                                                        20 satisfaction department. So if I failed to
                                                        21 properly satisfy customers, we would have lost
                                                        22 customer sales, which we did not. Our sales
                                                        23 increased. We would have had a huge problem
                                                        24 with our sales organization. We did not. But
                                                        25 yet I was ranked below expectations in -- in
                                                      335: 1 that particular area. I was ranked below
                                                         2 expectations in competitive advantage for the
                                                         3 business, yet our business continued to grow and
                                                         4 I was a pivotal person in -- in that area. . .




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Arnold, Roderick       2000-2001 Corn Milling         366: 4 Q. What's wrong with the objectives that you had                      366-67
Plaintiff                         Minnetonka, MN         15 for 2000 and 2001?
                                                         16 A. Take 3, 4, 5 -- 3, 4 and 5 by themselves -- I
11/05/79 - present                                       17 could put a -- a personal -- for 40 hours a week
                                                         18 and for the five months, four months that I was
                                                         19 there and they would not get those done. That's
                                                         20 why two of them we were able to -- to
                                                         21 accomplish, but at the expense of others.
                                                         22 Q. So it was too much to do is what you're saying?
                                                         23 A. Yes.
                                                         24 Q. Is any one of them an inappropriate KRA for your
                                                         25 position?
                                                      367: 1 A. No.
                                                         2 Q. Was it racially discriminatory on the part of
                                                         3 Peter Cleary to give you this much to do?
                                                         4 A. It -- it created an unfair situation that -- or
                                                         5 an -- that potentially could have led to
                                                         6 failure.
                                                         7 Q. Do you believe that there were white peers of
                                                         8 yours that had less workload into their KRAs?
                                                         9 A. I believe there was, yes.
Cephus, Lois E.       After demotion Excel             13. When I started at Cargill, management used the Management by             Para. 13
Declarant - Potential     in 1999    Dodge City, IA    Objectives (“MBO”) system to give performance evaluations. Later, the        59, 189-94
Class Member                                           system switched to the Performance Management Process (“PMP”). Before
                                                       my demotion, I received good performance evaluations. I received meets or
11/10/90 - 04/09/01                                    exceeds expectations. After they demoted me, Mr. Stafford tried to give me a
                                                       bad review. The department had goals it was supposed to meet and we had
                                                       met all those goals. However, he made sure that my review was as bad as
                                                       possible. Under communication, he said that I didn’t demonstrate openness
                                                       to feedback from others and so I was marked below expectations. Yet, he
                                                       wrote under expectations that I wrote and spoke concisely according to the
                                                       assignment and the audience. I know that he re-wrote my review several
                                                       times because it was so inconsistent. Still, everyone in the nursing
                                                       department received a bonus that year but me.




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Collier, Michael K.   1997-1998 Corn Milling          99:16 Q. When you became starch coordinator sometime               99-101, 103
Declarant - Witness              Cedar Rapids, ID       17 in 1996, what's the first PMP you recall where you
                                                        18 didn't feel it was an accurate reflection of your
07/12/95 - 05/30/98                                     19 work?
                                                        20 A. When Randy started doing them.
                                                        21 Q. Give us Randy's last name again?
                                                        22 A. Randy Benesh. [Caucasian]
                                                        23 Q. Is Randy who filled out your PMP?
                                                        24 A. Yes.
                                                        25 Q. Did anyone else fill it out?
                                                     100: 1 A. I think Teresa approved them. Teresa
                                                        2 approved them.
                                                        3 Q. What part of the evaluation did you think
                                                        4 wasn't a fair reflection of your performance?
                                                        5 A. I think I remember one time he scored me low
                                                        6 on customer service, working with others. I think
                                                        7 those are the only two I can remember.
                                                        8 Q. When you say he scored you low, what ranking
                                                        9 did you get?
                                                        10 A. I think I got below expectations -- or below
                                                        11 exceed -- below expectations.
                                                        12 Q. Did you talk to him about those marks?
                                                        13 A. Yes.
                                                        14 Q. Did you tell him you thought they were
                                                        15 unfair?
                                                        16 A. Yes.
                                                        17 Q. What was his response?
                                                        18 A. He just said that that's what he -- that's
                                                        19 what he thought where I was and that's why he gave me
                                                        20 those marks.
                                                        21 Q. Did he give you suggestions on how to
                                                        22 improve?
                                                        23 A. Yeah. He wrote in there -- they have a
                                                        24 location -- a spot where they write in there
                                                        25 suggestions.
                                                     101: 1 Q. Did you get the below expectation ranking
                                                        2 more than one year in a row?
                                                        3 A. No.
                                                        4 Q. Did you get that when you first became
                                                        5 starch coordinator --
                                                        6 A. Huh-uh.

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                                                           7 Q. -- or towards the end?
                                                           8 A. Towards the end when Randy came in.
                                                           9 Q. How about the PMPs before that? How were --
                                                          10 A. They were meets to exceeds. I had exceeds
                                                          11 on several things.
                                                          ***
                                                       103: 5 Q. So this is sort of -- Okay. When Mr. Benesh
                                                           6 filled out the evaluation that you disagreed with, do
                                                           7 you think he lied in evaluating your performance?
                                                           8 A. Yes.
                                                           9 Q. Do you think he put false information in the
                                                          10 PMP written report?
                                                          11 A. Yes.
                                                          12 Q. What part did you think was false?
                                                          13 A. The main one was me -- my ability to work
                                                          14 with others. That would be the first thing I would
                                                          15 say is my strongest point. I get along with others,
                                                          16 and I didn't quite understand that. Then my customer
                                                          17 service, that one really bothered me. I didn't -- I
                                                          18 didn't know how I could have gotten that one. I
                                                          19 haven't had -- or I didn't have any kind of
                                                          20 complaints or where I was lacking at.

Collins, Dawn           During   Admin                 160: 4     Q Did you ever see any documents that you thought          160
Plaintiff             Employment Minnetonka, MN          5 were discriminatory toward African Americans?
                                                         6     A I felt that the PMP document and process was
07/20/92 - 08/02/00                                      7 something that could definitely be used --
                                                         ***
                                                         10     Q And explain what you mean.
                                                         11     A That the measures on the PMP form, the process
                                                         12 itself, is a very subjective measure. And depending on
                                                         13 the manager who is performing the PMP, they can use
                                                         14 that -- that process for evaluation to discriminate
                                                         15 against African Americans.




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Collins, Dawn            1999    Admin               231: 7    Q No, at any time during your employment, did you           231
Plaintiff                        Minnetonka, MN         8 ever complain about any of your ratings?
                                                        9    A Yes, I did.
07/20/92 - 08/02/00                                     10    Q And when was that?
                                                        11    A The last performance review I had at Cargill.
                                                        12    Q Okay. And what were you rated on that
                                                        13 performance review?
                                                        14         MS. STRATTON: Objection, vague.
                                                        15    Q What was the overall rating?
                                                        16    A Overall, I believe I was a meets.

Dickson, Della           2000     Admin               221:22     Q Why did you not sign the review in 2000?                221-23
Plaintiff                         Minnetonka, MN        23     A I believed it was inaccurate.
                                                        24     Q And?
07/21/80 - present                                      25     A And I also believed that it was not prepared
                                                      222: 1 with the comments in the review, and the ratings were not
                                                         2 prepared by my supervisor, Stephen Ward.
                                                         3    Q Who do you believe they were prepared by?
                                                         4    A By an outside consultant who was assigned to
                                                         5 work with our group.
                                                         6    Q And who was that?
                                                         7    A David Umland.
                                                        ***
                                                      222:11     A He was with Radian, R-A-D-I-A-N.
                                                        12 Group
                                                        ***
                                                      223: 4    Q And why do you think that he didn't prepare the
                                                         5 review?
                                                         6    A Because I don't -- to be honest with you, I
                                                         7 don't think Steve Ward knew enough about what I was doing
                                                         8 to prepare the review. I was pretty much kept at
                                                         9 arms-length, and we had very, very few discussions about
                                                        10 what I was working on and my progress, and day-to-day
                                                        11 direction just was not there.

                                                     .




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Name / Empl. Dates      Time Frame Division / Location Evidence                                                                            Source
Dickson, Della            During   Admin               425: 8     Q And why do you believe that the PMP has                          425
Plaintiff               Employment Minnetonka, MN         9 negatively impacted African Americans as a group as
                                                          10 compared to Caucasians?
07/21/80 - present                                        11     A . . . I believe that there's
                                                          12 subjectivity built into the instrument that because of,
                                                          13 perhaps, more -- being more familiar with Caucasian
                                                          14 managers and Caucasian employees, that it works better
                                                          15 for them, and because of their established relationship,
                                                          16 than it does for the more distant relationships that
                                                          17 African Americans tend to have with their white managers.

Fowler, Raymond E. After July 1997 Excel                13. The next job I had after Cargill was short-lived because the company was Para. 13
Declarant - Potential              Wichita, KS          sold and decided to move to a different location. Mr. Hye [Caucasian former Fowler 50-52,
Class Member                                            supervisor] called my job and left me a voicemail after he had heard that my 66, 117-118, 130
                                                        company was sold and that I would be out of a job. He was laughing about
04/20/92 - 07/17/97                                     my situation. He actually was enjoying the fact that I was now out of work.
                                                        The message upset me greatly.

Gosby, Laverne H.       1995-1996    Excel              9. Shortly before I made the decision to leave, I received a directive from Mr. Para. 9
Declarant - Potential                Ottumwa, IA        Mellinger that Cargill was changing its evaluation procedure. Cargill was in    Gosby 229-240
Class Member                                            the process of implementing a new evaluation procedure, the Performance
                                                        Management Program (PMP). I had to train everyone on the new evaluation
11/23/87 - 04/20/96                                     process. I was sent to an off-site training session in Omaha, Nebraska where
                                                        all human resources managers participated in learning the PMP and how to
                                                        train new employees on the PMP. Although I did not stay at Cargill long
                                                        enough to conduct evaluations under the PMP, I could see that the process
                                                        could be manipulated to produce discriminatory results. The supervisor is the
                                                        person responsible for the reviews and has the final say in what is on the
                                                        review. If the supervisor does not evaluate the employee through the whole
                                                        year, there are likely to be surprises for the employee because in my
                                                        experience, supervisors do not take the time to evaluate employees, so when
                                                        review time comes around, the supervisor focuses on the recent negatives.
                                                        Minorities often will have worse reviews because of the lack of
                                                        coach/employee relationships. That is especially true when the supervisor is
                                                        Caucasian and the employee is a minority because Caucasian supervisors
                                                        tend to feel more comfortable with Caucasian employees, which allows a
                                                        better coach/employee relationship to develop which, in turn, fosters better
                                                        communication. Since the supervisor may not be as comfortable with African
                                                        American employees, those employees often receive low scores in
                                                        communication.

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Name / Empl. Dates      Time Frame Division / Location Evidence                                                                      Source
Harrison, Marcia           1998    Excel                52:15      Q. Did you think that it was unfair                         52
Declarant - Potential              Wichita, KS            16 that all new employees would be just given a
Class Member                                              17 meets expectations rating for that first year?
                                                          18      A. Yes.
02/23/98 - 04/01/99                                       19      Q. Why?
                                                          20      A. Because I think that you can do --
                                                          21 you can do -- exceed above average in a shorter
                                                          22 period of time than what I was told.

Hughey, Cheneta            1997      Seed                165:17     Q And there's an indication you've shown                   165
Plaintiff                            Minnetonka, MN        18 improvement in Canadian operational accounting, and then
                                                           19 talking about some deteriorated performance. Did you
07/08/96 - 12/19/97                                        20 agree that you'd shown some improvement in Canadian
                                                           21 operational accounting?
                                                           22     A Actually, my opinion, I was doing the same work
                                                           23 I always was doing with Canadian operations. He just
                                                           24 chose to review it as an improvement.

Hughey, Cheneta            1997      Seed                168:15      Q Okay. Then the next paragraph says, "I want to          168
Plaintiff                            Minnetonka, MN        16 work with you to help turn your performance around.
                                                           17 Please don't hesitate to see me whenever you have
07/08/96 - 12/19/97                                        18 questions or need feedback on your job performance."
                                                           19         Was that in the document when you saw it the
                                                           20 first time?
                                                           21     A I don't recall, but it may have been.
                                                           22     Q Did you believe it?
                                                           23     A No, I don't believe it in the fact that if that
                                                           24 was the case, he would have helped me along the way as
                                                           25 far as training.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                     Source
Lewis, Keith             1999    CCI                 321:22 Q. If you look at page 3, just below the halfway                  321-22
Plaintiff                        Minnetonka, MN         23 point, an entry, "felt PMP structure loose in CCI."
                                                        24 Do you recall saying that or sharing that thought
11/02/91 - 07/16/99                                     25 with [Karen] Sachs in the context of [your exit interview]?
                                                     322: 1 A. Yes, I did.
                                                        2 Q. And whether you used those precise words,
                                                        3 what were you trying to convey to Ms. Sachs with
                                                        4 respect to CCI's PMP process?
                                                        5 A. That Mr. Hamm did not sit down with me to,
                                                        6 you know, discuss his, that he asked me to put
                                                        7 together my PMPs, we did not add any of his concerns
                                                        8 or any of his objectives for me throughout the PMP
                                                        9 process. It was more or less I felt as if an
                                                        10 afterthought of his to go into the PMP. I had to
                                                        11 bring the PMP process to him instead of him bringing
                                                        12 the PMP process to me.

Little, Vivian          During   CIS                    253:23 A. It was unfair to African-Americans in that the              253-54
Plaintiff             Employment Chicago, IL              24 people making judgments about them, if that person did
                                                          25 not like you, then they could -- they could score you
11/17/97 - 03/10/03                                     254: 1 unfairly on this form.
                                                          2 Q. So despite whatever the process was that they
                                                          3 were supposed to do, they could give you a lower score,
                                                          4 right?
                                                          5 A. I don't know that there was actually a process
                                                          6 in place that they used to make these kinds of
                                                          7 decisions.

Little, Vivian           2000      CIS                  275:19        And I say that because I think that he                  275-76
Plaintiff                          Chicago, IL            20 basically went through the -- through the motions of
                                                          21 filling out these PMP forms simply because it was
11/17/97 - 03/10/03                                       22 something that had to be done. I don't think that he
                                                          23 had a real interest in my career and where I wanted to
                                                          24 go within the company. I think he was happy to have me
                                                          25 working for him as an administrative assistant, and I
                                                        276: 1 think that's where he wanted me to stay.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                    Source
Mason-Robinson,         During   Salt                313: 6 A. In terms of the overall policy, I find that                 313
Valerie               Employment Baltimore, MD          7 it's hypocritical that Cargill says one thing and
Plaintiff                                               8 does another. They say you have to have "meets" or
                                                        9 "exceeds expectations" on your PMPs, and I had that,
07/08/96 - 17/18/98                                     10 and I had a number of "exceeds expectations," but
                                                        11 those, that documentation of my performance was
                                                        12 clearly ignored. So they say one thing and they do
                                                        13 another. So the whole process to me is hypocritical
                                                        14 because they don't make their basis or judgments for
                                                        15 hiring within, at least regarding to
                                                        16 African-Americans, and particularly myself, based on
                                                        17 the working knowledge of a person's work ethic and
                                                        18 their dedication to the company.

Mason-Robinson,         During   Salt                  314:10 A. It's a system that's set up to look fair, to              314
Valerie               Employment Baltimore, MD           11 be fair, and -- but I don't think it's, I just don't
Plaintiff                                                12 think it's used fairly.
                                                         13 Q. What do you mean?
07/08/96 - 17/18/98                                      14 A. I think some areas are subjective, like I
                                                         15 discussed yesterday regarding communication. And
                                                         16 from my understanding, that's supposed to lead into
                                                         17 the KEIS program to a certain extent. I'm not
                                                         18 exactly sure how. That's subjective. I think that's
                                                         19 probably based on, more on who you know, not your job
                                                         20 skills and qualifications. I think that's how a lot
                                                         21 of things are based at Cargill; who you know, not
                                                         22 what you know.

McDowell, Anthony       During   NAGOC /               276:14 Q. Did individual employees have input into how              276
Plaintiff             Employment GRNOSNA                 15 the -- into the goals under which their performance
                                 Fayetteville, NC        16 would be evaluated?
11/12/97 - 04/02/03                                      17 A. No, sir.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                    Source
McDowell, Anthony        2001    NAGOC /             283:21 Q. And is there something about the way your                     283-85
Plaintiff                        GRNOSNA                22 performance was evaluated that you feel is
                                 Fayetteville, NC       23 discriminatory?
11/12/97 - 04/02/03                                     24 A. Yes.
                                                        25 Q. And what's that?
                                                     284: 1 A. The person that started that evaluation was
                                                         2 not even there enough time to even express those
                                                         3 thoughts about me, you know, to do that evaluation. . .
                                                         ***
                                                         7 Q. And, so, what about -- what about that do
                                                         8 you find to be discriminatory?
                                                         9 A. As I said before, he wasn't there for a
                                                        10 certain amount of time -- long enough to evaluate me.
                                                        11 No one else got that -- that treatment or that --
                                                        12 those type of bullets on their evaluation but me.
                                                        13 Q. How do you know that?
                                                        14 A. Because I asked.
                                                        15 Q. Who did you ask?
                                                        16 A. I asked other crew leaders. . .
                                                        ***
                                                     285: 1 Q. When did you ask this group of people that
                                                         2 question?
                                                         3 A. Around July 2001, when I received the
                                                         4 evaluation.

McDowell, Anthony       During   NAGOC /                291: 4 Q. What did Mr. Cowan share with you about                    291
Plaintiff             Employment GRNOSNA                  5 Mr. Crawford?
                                 Fayetteville, NC         6 A. He [crew leader] did share some information about
11/12/97 - 04/02/03                                       7 Mr. Crawford and another gentleman that was at the
                                                          8 time no longer with the company, he was terminated,
                                                          9 an African-American.
                                                          10        Mr. Crawford and that person spoke, had
                                                          11 verbal words towards each other. Mr. Crawford didn't
                                                          12 care for the way that gentleman was performing on his
                                                          13 job, and they got into some verbal slurs back and
                                                          14 forth. And he mentioned that Mr. Crawford called the
                                                          15 guy out of his name, used the "N" word, and the guy
                                                          16 retaliated by, "You're just mad because your sister
                                                          17 is married to a black guy."



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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                 Source
McDowell, Anthony        2002    Salt                335:23 Q. Did you at any point in time discuss with                  335-36
Plaintiff                        Tampa, FL              24 Mr. House -- Well, do you have some understanding as
                                                        25 to who entered those manager comments on this
11/12/97 - 04/02/03                                  336: 1 document?
                                                        ***
                                                        5 A. Mr. Jody House.
                                                        6 Q. Did you ever have an occasion to discuss
                                                        7 with Mr. House these comments that he had entered on
                                                        8 this document?
                                                        9 A. No.
                                                        10 Q. Did you have some sort of reaction to these
                                                        11 comments when you reviewed them upon receiving your
                                                        12 personnel record?
                                                        13 A. Yes.
                                                        14 Q. What was your thought at that time?
                                                        15 A. Personally, I was outraged.
                                                        16 Q. Why was that?
                                                        17 A. Untrue.
                                                        18 Q. What parts -- It notes here, Chris is simply
                                                        19 lacking experience necessary to properly do his job.
                                                        20 Chris will be put back as an operator to gain this
                                                        21 experience. Chris has very good people-skill
                                                        22 leadership abilities, but it is imperative that Chris
                                                        23 use this time to gain the knowledge necessary to
                                                        24 properly troubleshoot.

Mitchell, Michael        2001      WWPHOSPH /         164: 1 A. Because I didn't think it was fair. I didn't              164
Plaintiff                          PHOSPHPPROD          2 understand why I was put on it. [PIP]
                                   Tampa, FL            3 Q. What did Mr. Morris say?
10/12/99 - 08/14/01                                     4 A. He told me that this was a learning
                                                        5 experience for Cargill and we hadn't used these PIPs
                                                        6 a lot and, you know, just use it as a learning
                                                        7 experience and try to figure out what I needed to do
                                                        8 to improve whatever Don was having problems with.
                                                        9 Q. What was your response to Ozzie Morris'
                                                        10 suggestion?
                                                        11 A. I asked him why I had to be the learning
                                                        12 experience. . .




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                Source
Mitchell, Michael        2001    WWPHOSPH /          197:23 Q. Did you talk with Ozzie Morris about his                  197-98
Plaintiff                        PHOSPHPPROD            24 decision to return your PMP to draft status?
                                 Tampa, FL              25 A. Yes, and I conveyed to him that I didn't
10/12/99 - 08/14/01                                  198: 1 agree with the fact that it was being put back in,
                                                        2 and that I was going to be reevaluated, you know,
                                                        3 after my evaluation has been completed. I've went
                                                        4 through the same process as every other person as far
                                                        5 as sitting down with my boss and getting evaluated,
                                                        6 and now because at the end of the process my boss
                                                        7 decides to put comments in there that are insistent
                                                        8 with the evaluation, that I've got to be reevaluated
                                                        9 to match his comments.
                                                        10 Q. What did Ozzie Morris say?
                                                        11 A. He said, well, don't look at it that way. To
                                                        12 go ahead back through the process and, you know, he
                                                        13 didn't think it was going to be as bad as I thought
                                                        14 it would be. But the end result was that I had to go
                                                        15 back through the process.

Mitchell, Michael        2001      WWPHOSPH /         293: 8 Q. Why not just sign the second PMP and comment             293
Plaintiff                          PHOSPHPPROD          9 that you don't agree with some of the changes?
                                   Tampa, FL            10 A. Because I had been all the way through the
10/12/99 - 08/14/01                                     11 PMP process and its completeness one time with my
                                                        12 boss, we agreed where the evaluation was. I did not
                                                        13 feel it was fair that I was getting pulled back in,
                                                        14 all of my evaluations changed or some of them
                                                        15 changed, and now you're rerating me when I had
                                                        16 already been through the complete process just like
                                                        17 that statement about every Cargill employee. I don't
                                                        18 think they were pulled back in to do a second PMP.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                     Source
Ross, Tonya             During   NAS                 334:13 A. And I believe an overall review gave you a little            334
Plaintiff             Employment Dayton, OH             14 bit of a bone of an exceed expectations where they say
                                                        15 that you're here, you know, even if you qualify, I just
12/10/91 - 06/16/01                                     16 don't think that they're as eager to say you exceed
                                                        17 expectation in this area so you deserve that mark, I
                                                        18 think there's some hesitation to actually do that, to
                                                        19 keep you in a meets. I don't think that it's as equal.
                                                        20 Q. You're saying that there's more of a likelihood
                                                        21 to keep African-American employees in the meets than to
                                                        22 step them to exceeds?
                                                        23 A. I think so.

Ross, Tonya             During   NAS                   336: 3 Q. Do you have any basis for knowledge that white             336
Plaintiff             Employment Dayton, OH               4 employees are getting exceeds?
                                                         ***
12/10/91 - 06/16/01                                       7 A. Well, the fact that it, at least the time I was
                                                          8 at Cargill, it seemed that more white employees were
                                                          9 promoted in similar or same positions quicker than the
                                                         10 black employees that were equally qualified. So in that
                                                         11 sense I guess yes.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                               Source
Scott, Charles          During   CFI                 437:19 Q. I'm asking you, Mr. Scott, as you sit here do            437-38
Plaintiff             Employment Minnetonka, MN         20 you have any complaints about your employment in CFI
                                                        21 other than what you have already testified to?
02/11/91 - 05/02/98                                     22 A. Yes.
                                                        23 Q. What is that?
                                                        24 A. The material that was placed in my personnel
                                                        25 file, it was completely one-sided, all negative.
                                                     438: 1 Q. And these are the documents relating to the
                                                        2 performance issues that your supervisor had observed?
                                                        3 A. The ones that he documented?
                                                        4 Q. Correct.
                                                        5 A. Yes.
                                                        6 Q. Did you ever place anything into your
                                                        7 personnel file that was a rebuttal to any
                                                        8 performance, written performance feedback you
                                                        9 received?
                                                        10 A. If I knew that they were there, I would have.
                                                        11 Q. Did you place any documents into your
                                                        12 personnel file that was a rebuttal to any feedback
                                                        13 you received?
                                                        14 A. Due to the fact I did not know they were in
                                                        15 my personnel file, no.




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Name / Empl. Dates      Time Frame Division / Location Evidence                                                                       Source
Scott, Charles          1997-1998 CFI                  579:12 A. Well, my experience with Cargill, the way it                     579-80
Plaintiff                          Minnetonka, MN         13 developed, especially the last 18 months, has put a
                                                          14 bad taste in my mouth and probably caused me to have
02/11/91 - 05/02/98                                       15 a little distrust, actually a lot of distrust in how
                                                          16 people are chosen for, and how people rate me and how
                                                          17 people are chosen for promotions. So my, when I
                                                          18 first started with Cargill, you know, I came in gung
                                                          19 ho, ready, I want to be a manager, I want to be
                                                          20 president, I want to run the whole show, and I was
                                                          21 gung ho. I was die hard, committed, Cargill
                                                          22 employee. Passed up job opportunities for better
                                                          23 locations to stay with the company, you know. I was
                                                          24 under consideration that was, if you work hard, do
                                                          25 your best, you will get advancement opportunities.
                                                       580: 1 That's the way I was raised.
                                                          2        After leaving Cargill and reviewing my
                                                          3 personnel files and how one-sided those documentation
                                                          4 in my files were, gave me a whole different
                                                          5 perspective on how people view you, or how they
                                                          6 viewed me and, yes, I felt strongly that race had
                                                          7 some impact in that.

Sharp, Jacqueline T.       1995      Corn Milling      12. Near the end of my tenure, Cargill switched to a PMP review process and Para. 12
Declarant - Potential                Memphis, TN       Mr. Gardner was the one who conducted my reviews. On my PMP review in
Class Member                                           June 1995, I received a bad evaluation (below expectations) and was put on a
                                                       six-month improvement plan. Again, the supposed problem was
09/20/83 - 03/06/96                                    communication. I do not think my PMP was fair or accurate. In my opinion,
                                                       PMP measured personality and not merit or actual job performance. In that
                                                       same review, under the PMP process, I was told that I was “antagonistic”. No
                                                       one had approached me prior to the review to discuss that with me. Also, Mr.
                                                       Gardner asked my co-workers to give their opinions about me, but I was not
                                                       given the same opportunity to evaluate them. Management would set
                                                       objectives and goals for me, which were not in line with my goals and
                                                       objectives. I believe I had higher goals than what others had.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                      Source
Tate, Tausha             1999    Corn Milling        181: 6     Q All right. And were there anything about the               181
Plaintiff                        Memphis, TN            7 comments that you believe are inaccurate or
                                                        8 inappropriate?
06/15/98 - 04/14/00                                     9     A Yes.
                                                        10    Q Okay. Which ones?
                                                        11    A The complete comment. The example, "not
                                                        12 leaving work early during shutdown days, communication
                                                        13 issue, managing your shift employee." The day of the
                                                        14 down, I asked Darren Litle was it all right for me to
                                                        15 leave. I had been there several hours. He said yes, it
                                                        16 was okay for me to leave at the time that I asked him,
                                                        17 and then he brought it up and reprimanded me for it in my
                                                        18 job performance.

Tyler, Emily            During   CIS                   292:13 . . . I feel that I was really, you know, getting,             292
Plaintiff             Employment Chicago, IL             14 the ratings I had gotten, each of my PMPs I had
                                                         15 gotten at least some exceeds. I think my, was it
05/26/92 - 08/05/00                                      16 '97-98 that we went over, I had, my overall was an
                                                         17 exceeds. Maybe it was '98-'99.
                                                         18        Then I complained about discrimination, I
                                                         19 don't get any exceeds on my next evaluation, I'm all
                                                         20 meets, I don't have any exceeds at all, and I feel
                                                         21 that that was a result of my complaining about
                                                         22 discrimination, that they were getting back at me.




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Name / Empl. Dates     Time Frame Division / Location Evidence                                                                 Source
Williams, Jacqueline      2001    WWPHOSPH /          244:16 A. The first meeting we went through the                      244-45
Plaintiff                         WWFERTDIS              17 performance review, the quarterly review, and
                                  Tampa, FL              18 compared the things that I was supposed to be doing
06/07/93 - 05/08/02                                      19 with the 60-day probation letter.
                                                         20 Q. Which quarterly review, the first quarterly
                                                         21 review or the second quarterly review?
                                                         22 A. Well, they're both the same. We used the
                                                         23 same document that we have our annual review on, the
                                                         24 PMP form, and so it was that form and it probably had
                                                         25 comments from the first quarter review and second
                                                      245: 1 quarter review.
                                                         2 Q. Okay.
                                                         3 A. And from that review talked about the things
                                                         4 that were listed as problematic on the 60-day
                                                         5 probation letter. We went through each of the five,
                                                         6 six, maybe seven items that were listed, and there
                                                         7 was no compelling evidence in either of the
                                                         8 situations that still, in my opinion, warranted
                                                         9 probation.

Williams, Jacqueline      2001      WWPHOSPH /         246:17      And I also questioned whether, if there was             246
Plaintiff                           WWFERTDIS            18 problems, you know, why wasn't it, you know, brought
                                    Tampa, FL            19 to my attention in the three-month time period as
06/07/93 - 05/08/02                                      20 opposed to, for a review period, to give me an
                                                         21 opportunity to address it or correct it. No response
                                                         22 on that.




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Williams, Jacqueline      2001    WWPHOSPH /          251:14                                 . . . He asked                251-52
Plaintiff                         WWFERTDIS              15 repeatedly were there problems with my work and were
                                  Tampa, FL              16 there problems with my technical skills and Greg --
06/07/93 - 05/08/02                                      17 and this probably happened in the first meeting as
                                                         18 well. And Stephen nor Mareda were like, we don't
                                                         19 have problems with Jackie's work. She can do
                                                         20 whatever she needs to do. She does good work, she
                                                         21 communicates with, I mean there was actually a
                                                         22 comment in one of the reviews where it was I exceeded
                                                         23 expectations on taking responsibility and
                                                         24 communicating with other teammates, and I pointed
                                                         25 that out. And Mareda's comment to that was, well,
                                                      252: 1 it's not consistent.
                                                         2        And so my comment was, so we're going to take
                                                         3 one incident where you don't get both sides of the
                                                         4 story, you take one person's side of the story, you
                                                         5 don't question me about it but you punish me for it.

Williams, Jacqueline      2001      WWPHOSPH /         252:10                     . . . I said, you know, we               252
Plaintiff                           WWFERTDIS            11 have people who actually curse coworkers out, curse
                                    Tampa, FL            12 Stephen out, and I asked has that person been put on
06/07/93 - 05/08/02                                      13 probation? Because that's definitely a communication
                                                         14 problem. Their response again was, you know, that's
                                                         15 none of your business.




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                         SELECTED PMP EVIDENCE FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame Division / Location Evidence                                                                         Source
Willis, Cheryl           2000    Admin               267: 2 A. When I was, when I was having my performance                     267
Plaintiff                        Minnetonka, MN          3 review with John [Ringquist] [Caucasian] I indicated to him that I
                                                     believed
06/02/86 - 05/01/01                                      4 that I met and exceeds expectations or somewhat
                                                         5 exceeds expectations, . . .
                                                        ***
                                                         8 I listed for him contributions that I made while I
                                                         9 was in his department that last time and the value of
                                                        10 those contributions to the company, and the major
                                                        11 contribution was my role within the Windows, with the
                                                        12 Windows 2000 project that was rolling out that caused
                                                        13 me to get a Leo award from their, from the people
                                                        14 that were working in that, in that department, as
                                                        15 well as they gave me, they did a performance review
                                                        16 on me and gave some real specific examples of how I
                                                        17 really contributed significantly to the success of
                                                        18 their goals for that project. And that wasn't, that
                                                        19 wasn't enough for John. He perceived those same
                                                        20 things differently.
                                                        21        The other -- and so I, I went back and forth
                                                        22 with him on it and we ended up submitting it with me
                                                        23 getting an overall "meets expectation," . . .
Wint, Steve              2001    Salt                185:12 Q. Do you believe that Mr. Crawford intentionally                   185-86
Plaintiff                        Tampa, FL              13 discriminated against you on the basis of your
                                                        14 race when he evaluated your performance in
04/17/00 - 02/26/04                                     15 what's been marked as Exhibit 7?
                                                        16 A. I believe all -- all the PMPs is discriminating
                                                        17 against all African Americans, including myself.
                                                        18 Q. Okay. Why is that?
                                                        19 A. Well, I have not looked at anyone else's PMPs,
                                                        20 but others that talked about it said they should
                                                        21 have been what it isn't -- like, not talking to
                                                        22 management, but talking to other employees.
                                                        23 They weren't happy about certain information in
                                                        24 their -- in their PMPs. Was upset. And it's
                                                        25 basically most African Americans was.
                                                     186: 1 Q. Okay. White employees talk about it -- being
                                                         2 upset over their PMPs?
                                                         3 A. No. African Americans.



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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                    Source
Wint, Steve             During   Salt                186: 13       Did you believe that there was anything                 186
Plaintiff             Employment Tampa, FL              14 discriminatory about the PMP before you talked
                                                        15 with Sprenger & Lang?
04/17/00 - 02/26/04                                     16 A. Yes.
                                                        17 Q. When did you first believe that there was
                                                        18 something discriminatory about the PMP?
                                                        19 A. When I start to understand what that PMP is.
                                                        20 And then how just upset other African Americans
                                                        21 were regarding how certain things were put in
                                                        22 there.
Wright, Sean            During   NAGOC                369:18      Q Did you view the evaluation process as an              369-70
Plaintiff             Employment Minnetonka, MN         19 opportunity for your employer to give you feedback?
                                                        20      A I reviewed the -- the first time around, I
05/19/97 - 08/05/00                                     21 thought it was a process to receive feedback. Subsequent
                                                        22 to the second time around, I thought it was a process to
                                                        23 be used as kind of a tool to be held against you if your
                                                        24 supervisor didn't particularly care for the way you did
                                                        25 whatever it is you did that he didn't like. So I viewed
                                                      370: 1 it as a tool of, I don't know, reprimand or more like an
                                                        2 error than anything else.

Wright, Sean             1998     Minnetonka, MN      399: 9    Q Mr. wright, I'm showing you what's been marked           399-402
Plaintiff                                               10 as Wright Deposition Exhibit No. 26. Do you recognize
                                                        11 this?
05/19/97 - 08/05/00                                     12     A Yes, it would be the PMP that Kevin Kohler
                                                        13 completed in approximately June of '98.
                                                        ***
                                                        18     Q And you indicated that you approved the review
                                                        19 on June 24th, 1998?
                                                        20     A I indicated I approved it, because I was under
                                                        21 the belief that I didn't have any choice but to.
                                                        ***
                                                      402: 1    Q So you feel that's subjective criteria against
                                                         2 which to measure whether an individual communicated
                                                         3 adequately in the job?
                                                         4    A The criteria might be objective, but the actual
                                                         5 evaluation can still be subjective.




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Name / Empl. Dates   Time Frame Division / Location Evidence                                                                    Source
Allen, Sean             1997    Corn Milling         29:10 Q. Sure. Why did you testify that when you became              29
Plaintiff                       Minnetonka, MN         11 an Ethanol/CO2 sales rep that was not a promotion? Why
                                                       12 wasn't it a promotion?
06/22/92 - present                                     13 A. At the time that I received the duties of
                                                       14 marketing CO2, I had not received, I did not receive any
                                                       15 increase in pay. The increase in pay for the job that I
                                                       16 had already done was given to me at a later point in time
                                                       17 without -- it was not called a promotion to me, it wasn't
                                                       18 marketed to me as a promotion by my management.

Allen, Sean          1994-1998    Corn Milling        101:14 Q. You also talked about your opportunities for              101-02
Plaintiff                         Minnetonka, MN        15 advancement being limited. What do you mean by that?
                                                        16 A. Oftentimes during my career with Ethanol I talked
06/22/92 - present                                      17 to Terry about opportunities for advancement, what would
                                                        18 be my next assignment. I did not know if I necessarily
                                                        19 wanted a long-term career in Ethanol because I felt as
                                                        20 though I may have limited exposure to the rest of
                                                        21 Cargill, and I was often told that I would be better off
                                                        22 developing a long-term career in Ethanol and getting one
                                                        23 very large promotion at the end of my time frame in
                                                        24 Ethanol as opposed to having several baby step
                                                        25 promotions.
                                                      102: 1         I was never approached as was customary
                                                        2 during that time frame for new job opportunities within
                                                        3 corn milling or externally, although I also indicated a
                                                        4 desire to want to learn new things and a desire to become
                                                        5 a manager within a reasonably short time frame.

Allen, Sean          1994-1998    Corn Milling        103: 5 Q. Other than Ms. Jaffoni had you talked with anyone         103
Plaintiff                         Minnetonka, MN        6 else at Cargill about your desire to be promoted during
                                                        7 that time period?
06/22/92 - present                                      8 A. Yes.
                                                        9 Q. Who else?
                                                        10 A. I talked to Pete Boynton, who was the vice
                                                        11 president of sweetener sales. I talked to Doug Punke,
                                                        12 who was the division merchandising manager. I talked to
                                                        13 Bill Trecker, who was the product line manager for
                                                        14 Ethanol. And I talked to Jodi Horner, who was involved
                                                        15 with SBD, Strategy and Business Development. And I
                                                        16 talked with, I've forgotten her name now, but she was an

                                                                         1
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Name / Empl. Dates   Time Frame   Division / Location Evidence                                                                   Source
                                                         17 HR assistant for Cargill Energy. And the last two
                                                         18 conversations were towards the end of my time frame with
                                                         19 Ethanol when I realized that I wasn't going to get any
                                                         20 help from Ethanol to move on.

Allen, Sean          1994-1998    Corn Milling       105: 8 Q. Now, did Mr. Boynton ever say or do anything that           105
Plaintiff                         Minnetonka, MN       9 you believe was somehow discriminatory?
                                                       10 A. I believe his offering of an entry-level position
06/22/92 - present                                     11 to me was discriminatory.
                                                       12 Q. Why?
                                                       13 A. The two previous people that had left the
                                                       14 Ethanol/CO2 sales group and moved into a Sweetener area
                                                       15 of responsibility had been offered higher-level
                                                       16 positions.

Allen, Sean          1994-1998    Corn Milling       113: 5 Q. Is there anything about your experience as an               113
Plaintiff                         Minnetonka, MN       6 entry-level merchant that leads you to believe that Mr.
                                                       7 Punke didn't provide African Americans with opportunities
06/22/92 - present                                     8 in merchandising?
                                                       9 A. I saw that Mr. Punke would provide other
                                                       10 merchants within the organization an idea of their career
                                                       11 path as merchants within the Corn Milling organization
                                                       12 and he did not do that for me.

Allen, Sean          1994-1998    Corn Milling       117: 25 Q. Did Mr. Trecker do or say anything that you                117-18
Plaintiff                         Minnetonka, MN     118: 1 believe was somehow discriminatory?
                                                       ***
06/22/92 - present                                      3 . . . In retrospect I believe the offering of
                                                        4 nonposted jobs to individuals I believe was
                                                        5 discriminatory.
                                                       ***
                                                       16 A. As I stated before, the positions weren't posted,
                                                       17 and for an employee to move from one organization to
                                                       18 another within Cargill has to be with the knowledge of
                                                       19 the hiring manager and the manager that the employee
                                                       20 currently reports to.




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Name / Empl. Dates   Time Frame Division / Location Evidence                                                                  Source
Allen, Sean             2000    Corn Milling        156: 24 Q. Why do you believe that Mr. Oiler's promotion to           156-57
Plaintiff                       Minnetonka, MN         25 the national account manager position was somehow
                                                    157: 1 discriminatory?
06/22/92 - present                                     2 A. Because I believe that it was another example of
                                                       3 Cargill, for lack of a better term, tapping someone on
                                                       4 the shoulder for a promotional opportunity and not making
                                                       5 that promotional opportunity available for all interested
                                                       6 parties to compete for.

Allen, Sean             2001      Corn Milling        168:25 Q. Why do you believe that the selection of Mr.              168-69
Plaintiff                         Minnetonka, MN      169: 1 Warnke was somehow discriminatory vis-a-vis you?
                                                        2 A. I believe that this was one of the first examples
06/22/92 - present                                      3 of a management opportunity that Mr. Schmit had indicated
                                                        4 that I could compete or would be available for me and
                                                        5 when I applied for this, when I applied for this
                                                        6 position, the ultimate, the person who was ultimately
                                                        7 chosen did not have a sales background and was brought
                                                        8 from another part of the business unit into the sales
                                                        9 family when there were, when there was a comparable
                                                        10 salesperson who's running to management who was told that
                                                        11 he was being brought to Salt to be developed into a
                                                        12 manager, and I don't believe I was given a fair shot for
                                                        13 that position.


Allen, Sean             1998      Corn Milling        179: 7 Q. Do you believe that there was something                   179
Plaintiff                         Minnetonka, MN        8 discriminatory about the fact that Doug Corselius was
                                                        9 selected to fill the eastern region position?
06/22/92 - present                                      10 A. Yes.
                                                        11 Q. Why?
                                                        12 A. I believe that his -- that my territory and my
                                                        13 experience level was held against me and Doug's was not.
                                                        14 I believe we have -- we had similar experience levels
                                                        15 within Cargill, or excuse me, I believe I had more
                                                        16 Cargill knowledge than Doug. Doug had been in Salt for
                                                        17 the same amount of time as me, he comes from a larger
                                                        18 territory, but I have just as much business knowledge as
                                                        19 he does. But Cargill Salt was uncomfortable with me
                                                        20 moving into a regional sales manager job. I was told
                                                        21 that.



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Name / Empl. Dates   Time Frame Division / Location Evidence                                                                   Source
Allen, Sean             1998    Corn Milling        183: 3 Q. Do you know how many other candidates there were           183
Plaintiff                       Minnetonka, MN          4 for the SBD position?
                                                        5 A. I know that the original candidate pool was
06/22/92 - present                                      6 approximately 55 candidates.
                                                       ***
                                                       16 Q. How about of the eight who advanced to
                                                       17 interviews?
                                                       18 A. There was one African American, myself; there
                                                       19 were two Caucasian females; there were two Latin American
                                                       20 males; and there were three Caucasian males.
                                                       21 Q. Who were the successful candidates for those
                                                       22 positions?
                                                       23 A. One Caucasian male and two Caucasian females.

Allen, Sean             1998      Corn Milling       264: 6 Q. . . .                                                     264
Plaintiff                         Minnetonka, MN       7       . . .you write, "Deterred from seeking
                                                       8 promotion by Terry Jaffoni."
06/22/92 - present                                     9 A. Yes.
                                                       10 Q. What is that about?
                                                       11 A. When I indicated my interest in applying for the
                                                       12 position within Strategy and Business Development, I was
                                                       13 discouraged by Terry and I did not receive her support.
                                                       14 And management support is key to a rotation analyst
                                                       15 successfully achieving their position.


Arnold, Roderick       During   Corn Milling          18:20 A. . . . As an employee we had an implicit                   18
Plaintiff            Employment Minnetonka, MN         21 or we have an implicit trust in our managers.
                                                       22 Consequently my -- my primary focus was proving
11/05/79 - present                                     23 myself as a capable employee and trusting my
                                                       24 managers to use their influence and -- and
                                                       25 awareness to allow me to move into bigger jobs.




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Name / Empl. Dates   Time Frame Division / Location Evidence                                                                   Source
Arnold, Roderick       During   Corn Milling        440:10 Q. Okay. Do you consider yourself to have been                440
Plaintiff            Employment Minnetonka, MN         11 successful at Cargill so far?
                                                       12 A. Not exactly.
11/05/79 - present                                     13 Q. Talk about the answer in some more depth.
                                                       14 A. I'm still gainfully employed, but to me success
                                                       15 is -- is based on continued -- continuing to
                                                       16 climb the corporate ladder. So since I am going
                                                       17 in the opposite direction at this point in time,
                                                       18 I would say that I've -- I've not been as
                                                       19 successful as other Cargill employees.

Arnold, Roderick       During   Corn Milling         379: 8 Q. And the allegations are that those in the CLDP            379-80
Plaintiff            Employment Minnetonka, MN          9 program who were Afghan [sic] American are alleged not
                                                       10 to have advanced as much or to the degree as
11/05/79 - present                                     11 their counterpart Caucasians.
                                                       12       Are you making that claim?
                                                       13 A. Yes.
                                                       14 Q. For yourself?
                                                       15 A. Yes.
                                                       16 Q. And what factual basis do you have for your
                                                       17 experience supporting that claim?
                                                       18 A. Well, I -- I surveyed approximately -- oh, 25 or
                                                       19 so of the -- of my classmates -- or fellow
                                                       20 participants. And all of us were in roughly the
                                                       21 same range of job grades. Out of that group
                                                       22 that I surveyed three are at vice president
                                                       23 level or above.
                                                       ***
                                                     380: 8 And the balance of those individuals -- oh, I
                                                        9 take that back. About 18 of the individuals are
                                                       10 department heads, directors or general managers.
                                                       11 And the remaining four have left the company.
                                                       12 So I -- I think that's a pretty impressive --
                                                       13 pretty impressive group of -- of individuals.
                                                       14 Q. Is it your testimony that your career path is --
                                                       15 has progressed least out of everybody in your
                                                       16 class?
                                                       17 A. On a -- a -- certainly out of the individuals
                                                       18 that have stayed with Cargill, yes.



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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                 Source
Brown, Toya             During   NAGOC                84:16 . . . Where did you first hear this                           84-85
Plaintiff             Employment Houston, TX            17 notion that within 12 to 18 months you would be moved
                                                        18 out of your assignment?
03/17/97 - 03/31/01                                     19 A. From what I recall, the first notion was in
                                                        20 the literature at the career center.
                                                        ***
                                                        11 A. During the first and second interviews it was
                                                        12 discussed in terms of the career path. It was also
                                                        13 discussed with Karen Sachs in terms of the career
                                                        14 path. It was also discussed with John Culmer in
                                                        15 terms of the regular, typical career path. And
                                                        16 that's all I can remember right now.

Brown, Toya             During   NAGOC                 101: 1 Q. Sure. Was there a way that employees in your             101
Plaintiff             Employment Houston, TX             2 position, you know, relatively new merchants in the
                                                         3 Grain division, could find out about opportunities in
03/17/97 - 03/31/01                                      4 other areas?
                                                         5 A. No, not formally.
                                                         6 Q. Was there an informal way that you were aware
                                                         7 of?
                                                         8 A. Yes.
                                                         9 Q. And what was that manner or method?
                                                         10 A. The Cargill grapevine system.
                                                         11 Q. And how did that, if you know, how did that
                                                         12 informal grapevine system operate?
                                                         13 A. As I understood, the informal grapevine
                                                         14 system was who, who you knew, who knew you, and who
                                                         15 had an opening and who wanted, whoever had that
                                                         16 opening, who they wanted to fill it with, or ideas of
                                                         17 who they wanted to fill it with.
                                                         18 Q. And who were the people that were on the
                                                         19 grapevine, or would it have been, you know, managers
                                                         20 at various locations?
                                                         21 A. Yes, it would have been those managers
                                                         22 included in the grapevine and corporate HR.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                 Source
Brown, Toya              2000    NAGOC               221: 5 Q. What did you tell Ms. Johnson then about the               221-22
Plaintiff                        Houston, TX            6 interview process that occurred in Tampa?
                                                        7 A. From what I remember, it was along the lines
03/17/97 - 03/31/01                                     8 of what took place during the interview in terms of
                                                        9 the questions and abnormalities of the discriminatory
                                                        10 questions and things of that nature.
                                                        11 Q. Okay. Did you ask Ms. Johnson to look into
                                                        12 the matter further on your behalf?
                                                        13 A. No.
                                                        14 Q. Did she indicate that she was willing to do
                                                        15 that?
                                                        16 A. No.
                                                        17 Q. What did she say when you raised these issues
                                                        18 with her?
                                                        19 A. From what I remember, it was along the lines
                                                        20 of it's not really a surprise, it's how things work
                                                        21 and that's how Cargill functions.
                                                        22 Q. And what wasn't a surprise, the fact that
                                                        23 these questions were being asked?
                                                        24 A. The fact that discrimination in the
                                                        25 interviewing process happens.
                                                     222: 1 Q. And did Ms. Johnson say that to you, those
                                                        2 words or words close to that?
                                                        3 A. In so many words.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                   Source
Brown, Toya              2001    NAGOC               249: 3 Q. Okay. He asked you what you felt went wrong                  249-50
Plaintiff                        Houston, TX            ***
                                                         7 A. From what I remember, I told him I think
03/17/97 - 03/31/01                                      8 Cargill brings and recruits heavily on
                                                         9 African-American colleges and brings African-American
                                                        10 in to satisfy EEOC requirements that they legally
                                                        11 have to satisfy. Once they get these
                                                        12 African-American kids or students in, they have no
                                                        13 career path opportunities even extended to them, that
                                                        14 their Caucasian peers have the same opportunities, or
                                                        15 actually that their Caucasian peers are extended
                                                        16 opportunities that the African-American students are
                                                        17 not even given the opportunity to explore, and that
                                                        18 Cargill is good at, in so many words, setting up
                                                        19 recruiting, getting on recruiting schedules at black
                                                        20 colleges and they get students in for internships and
                                                        21 then posi50tions, and then once they get them in,
                                                        22 there's no career path, no opportunity.
                                                        23 Q. Did Mr. Culmer [Manager, African American] have a response to
                                                     what you
                                                        24 just said?
                                                        25 A. He agreed with what I was saying. And his
                                                     250: 1 words, in a roundabout way, is that they did need to
                                                         2 just stop recruiting at African-American colleges
                                                         3 because they weren't going to provide opportunities
                                                         4 for these African-American students that they brought
                                                         5 in.

Brown, Toya             During   NAGOC               324:10 Q. And regarding lack of promotions, who                       324-25
Plaintiff             Employment Houston, TX           11 specifically among your Caucasian peers do you feel
                                                       12 got earlier or more frequent promotions than you did?
03/17/97 - 03/31/01                                    13 A. All of my Caucasian peers. . .
                                                       ***
                                                     325:
                                                        7           . . . did you apply for any
                                                        8 of the positions or any of the promotions that you're
                                                        9 aware these people received?
                                                       10 A. I wasn't aware of any of the opportunities to
                                                       11 apply until after they had been given the promotions.



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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                        Source
Brown, Toya              2001    NAGOC                357:12 Q. Okay. Did he [John Culmer, African American] indicate to you   357
Plaintiff                        Houston, TX         that he knew
                                                        13 the names of people who were being thrown around for
03/17/97 - 03/31/01                                     14 promotion?
                                                        15 A. No.
                                                        16 Q. Did he indicate that he wasn't able to submit
                                                        17 names of his own for consideration?
                                                        18 A. Indirectly, yes.
                                                        ***
                                                        21 A. He indicated in that through the grapevine
                                                        22 openings that were available were hand-picked and
                                                        23 filled with individuals based on who they knew and
                                                        24 who knew them.

Brown, Toya           1999-2000   NAGOC               388: 8 Q. What was the available position in Port Allen                  388-89
Plaintiff                         Houston, TX            9 to which you're referring?
                                                        10 A. There was a merchandising position available
03/17/97 - 03/31/01                                     11 in Port Allen.
                                                        12 Q. Is that a position that Ms. LaBlanc got? Is
                                                        13 that wrapped up in the same thing or is that
                                                        14 something different?
                                                        15 A. From what I remember, yes.
                                                        16 Q. How did you find out that this position
                                                        17 existed?
                                                        18 A. I found out the position existed when it was
                                                        19 filled.
                                                        20 Q. Do you know when it was filled?
                                                        21 A. From what I remember, it was '99 to 2000.
                                                        ***
                                                      389:
                                                         5 A. At that time from the information I had, no,
                                                         6 I do not believe it was posted.

Brown, Toya              2001     NAGOC               396:22 Q. Did Mr. Culmer [African American] ever tell you that he had    396-97
Plaintiff                         Houston, TX           23 applied for positions and hadn't received them?
                                                        24 A. Indirectly, yes.
03/17/97 - 03/31/01                                     25 Q. In what indirect way did he tell you that?
                                                      397: 1 A. During a conversation I had with John Culmer
                                                        2 at a lunch a few days before I was forced to leave
                                                        3 Cargill, John Culmer indicated that -- actually I


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Name / Empl. Dates      Time Frame   Division / Location Evidence                                                                    Source
                                                            4 asked him if he would have changed anything about his
                                                            5 position, his experience with Cargill, and he said
                                                            6 yes. He then went on to say that he knew he had
                                                            7 reached his full, or the top position within Cargill
                                                            8 while he was in Houston and that he knew he was not
                                                            9 going to go any further. Based on opportunities
                                                            10 presented to him in the past, he knew he had reached
                                                            11 his peak within Cargill promotion-wise.

Brown, Toya               During   NAGOC               103:13 Q. Well, what I'm trying to, I guess, inquire                     103-04
Plaintiff               Employment Houston, TX           14 about is I understand from your previous answers
                                                         15 there wasn't a, at least initially there perhaps
03/17/97 - 03/31/01                                      16 wasn't a formal way that people, that a merchant
                                                         17 employee would learn about other merchant openings,
                                                         18 right?
                                                         19 A. Correct.
                                                         20 Q. So if you as a merchant didn't know about
                                                         21 other openings, how would, regardless of -- who would
                                                         22 be the person who would be aware of both your
                                                         23 performance and the opening and be able to match the
                                                         24 two up? What was your understanding of how that
                                                         25 would operate?
                                                       104: 1 A. My understanding was that Dave Schimke in the
                                                          2 corporate HR department knew of the openings and knew
                                                          3 of each individual merchant's performance based on
                                                          4 feedback from their manager and through their
                                                          5 performance evaluations that they had access to.

Cephus, Lois E.           During   Excel               22. Rickey Jones (African American) was always passed over for promotions Para. 22
Declarant - Potential   Employment Dodge City, IA      even though he had been there for years and had a lot of experience. There
Class Member                                           was also an African American couple whose names I cannot recall, but I think
                                                       they were both in engineering. They did not last long at Cargill and I think the
11/10/90 - 04/09/01                                    husband was mistreated during his employment at Cargill. From my
                                                       observations, it also seemed that the African American human resource
                                                       employees were treated differently—as if they were set up to fail.




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Name / Empl. Dates      Time Frame Division / Location Evidence                                                                             Source
Cephus, Lois E.            1999    Excel               4. In 1999, Mr. Stafford informed me that I was being demoted. I was never Para. 4, 6
Declarant - Potential              Dodge City, IA      told why I was demoted. I think I was demoted because I kept my duty             152-57, 161-65
Class Member                                           regarding medical confidentiality and the managers did not respect
                                                       confidentiality. It appeared to me that management wanted to use confidential
11/10/90 - 04/09/01                                    information and wanted to get people off restricted duty as quickly as possible,
                                                       sometimes too quickly. I was very upset about being demoted because I felt
                                                       more than anything that the Plant Manager, Dan Schnitker (Caucasian),
                                                       wanted a Caucasian Occupational Health Manager. I feel that way because
                                                       there were rumors that Mr. Schnitker had said that the problem with the plant
                                                       was that it was run by too many minorities. He started replacing people of
                                                       color in management positions. To me, it was obvious that Mr. Schnitker did
                                                       not like people of color.
                                                       ***
                                                       6. Before I was told that I was demoted, Cargill either advertised or searched
                                                       for a replacement for my position. Cargill management then thought they had
                                                       filled the position, so Mr. Stafford told me that I was being demoted. Shortly
                                                       after that, the person they hired decided not to accept the job. I was asked to
                                                       stay as Occupational Health Manager until they could fill the position. I told
                                                       them that I would rather take my position on the shift than move back up only
                                                       to move down again. Cargill then hired Carl Gookins (Caucasian) to replace
                                                       me as Occupational Health Manager. Mr. Gookins had been a nurse for a
                                                       while, but he had no occupational health experience. He was later fired in
                                                       2000 because he did not know what he was doing. Doris Heiland
                                                       (Caucasian), who I had hired and trained in February 1999, took over Mr.
                                                       Gookin’s position. She received this position, even though she had very little
                                                       experience.
Cephus, Lois E.            2000    Excel               7. The nursing staff switched from salaried to hourly in 2000. I wanted to stay Para. 7-9
Declarant - Potential              Dodge City, IA      salaried, so I looked for a new position at Cargill. In February 2000, there was 169-73, 176-77
Class Member                                           an opening for a Case Manager. I spoke to Mr. Gookins about the position
                                                       and he informed me that the qualifications were to have nursing experience
11/10/90 - 04/09/01                                    and be able to communicate in Spanish. I had all those qualifications. Yet,
                                                       the job was given to Connie Schermerhorn, who appears to me to be
                                                       Caucasian. She was less qualified than I was. She spoke Spanish, but had
                                                       no experience as a Case Manager and she had no occupational health
                                                       experience. Mr. Gookins, Mr. Schnitker and Dave Stafford (Caucasian),
                                                       Human Resource Manager, made the promotion decision.
                                                       8. At that point, I felt like resigning. I was frustrated by watching less
                                                       experienced Caucasians receive positions that I was qualified for. I actually
                                                       submitted my resignation, but I rescinded it when the employees I took care of
                                                       asked me not to leave.


                                                                             11
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Name / Empl. Dates    Time Frame   Division / Location Evidence                                                                                 Source
                                                       9. Mrs. Schermerhorn did not last long at that position at Cargill. She moved
                                                       to first shift to help the first shift nurse. Her position was open in November
                                                       2000. I applied again, and this time, I got the job. This just proved to me that
                                                       I was qualified the first time, but that I wasn’t given the position because of my
                                                       color.

Collier, Michael K.   1997-1998    Corn Milling        11. I also felt that I was passed over for other promotional opportunities during Para. 11
Declarant - Witness                Cedar Rapids, ID    my tenure at Cargill. I felt that I could become an Operator. There were
                                                       Operator openings in the Starch Department while I was there. I felt I was not
07/12/95 - 05/30/98                                    able to become an Operator because I was African American.




Collier, Michael K.     During   Corn Milling          13. I think overall, Cargill has a problem of promoting African Americans. In        Para. 13
Declarant - Witness   Employment Cedar Rapids, ID      addition to what happened to me, I knew a few others who were denied                 87-88
                                                       promotions. Glenn Jones (African American) worked in the plant and I know
07/12/95 - 05/30/98                                    that he had tried to be promoted several times without success. The reason
                                                       this continues as Cargill is because the type of people that are brought in to
                                                       management positions have that idea of the “old boys club” and so it
                                                       continues to carry on the same way it always has.

Collier, Michael K.   1997-1998    Corn Milling        3. A little less than a year after I started, I was promoted to Starch Coordinator Para. 3
Declarant - Witness                Cedar Rapids, ID    in the Sales Department. I had actually put in a bid to be a Supervisor at the
                                                       Eddyville plant, but I was told that I would not want to live there. I remained a
07/12/95 - 05/30/98                                    Starch Coordinator until I was terminated on May 30, 1998.




Collier, Michael K.     During   Corn Milling          7. Cargill was not consistent in the promotion process. Some openings at      Para. 7
Declarant - Witness   Employment Cedar Rapids, ID      Cargill are posted. During my tenure at Cargill, I saw some postings for
                                                       administrative jobs and plant jobs. Some job openings were not posted, such
07/12/95 - 05/30/98                                    as operator positions, accounting positions, sales positions, and management
                                                       positions. Those positions were not posted because it seemed to be “who you
                                                       know” at Cargill and not necessarily how good your work was. In general,
                                                       friends/golfing buddies of the boss seemed to get more promotions than
                                                       anyone else. It seemed to me that management didn’t post jobs because they
                                                       would fill the job with the person they wanted, so there was no need for them
                                                       to say there was an opening. Those people who received promotions were
                                                       Caucasians.


                                                                            12
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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                             Source
Collier, Michael K.   1995-1996 Corn Milling         8. While at Cargill, I was looking for promotional opportunities. I did some    Para. 8
Declarant - Witness              Cedar Rapids, ID research and found that Cargill had a supervisory position open in Eddyville,
                                                     Iowa. I met the qualifications and so I applied for the job. Management came
07/12/95 - 05/30/98                                  back with my application in hand and asked if I really wanted the job. Mr.
                                                     Blazer mentioned that I may not want to work at that plant because of “cultural
                                                     differences.” I was never interviewed for the position. Mr. Klawitter
                                                     [Caucasian] received that position. I think that Ms. Heightman or Mr. Blazer
                                                     made the promotion decision.

Dickson, Della        1990-1997    Oilseeds             143:11    Q And while you were in oilseeds from 1990 to                      143
Plaintiff                          Minnetonka, MN         12 1997, did anyone do anything to you that you felt was
                                                          13 discriminatory in any way?
07/21/80 - present                                        14    A Not overtly. Of course, there were positions
                                                          15 during that time period that I thought I should be
                                                          16 considered for that I wasn't, promotions. I was denied
                                                          17 promotions.

Dickson, Della           2001      Admin                200: 1     Q Now, with respect to this transportation                        200-01
Plaintiff                          Minnetonka, MN          2 distribution manager in salt/deicing, that's a position
                                                           3 you say you applied for?
07/21/80 - present                                         ***
                                                          18     Q Okay. Did you complete an application for the
                                                          19 position?
                                                          20     A Yes, I did.
                                                          ***
                                                        201: 11      A Yes, we did. The job had been posted, I
                                                          12 believe, as a salary class 11, and Mike [Merriweather] got back to me
                                                          13 and said, you know, I'm fully qualified for the job, but
                                                          14 that it had been posted at the incorrect salary class,
                                                          15 that he believed the job was really a 9.
                                                          16     Q Okay.
                                                          17     A And then he proceeded on to say that they had
                                                          18 someone in their office that was about ready to make that
                                                          19 step, and they had selected that person.




                                                                          13
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Name / Empl. Dates   Time Frame Division / Location Evidence                                                                  Source
Dickson, Della          2000    Admin               204:16      Q And when was this PDI position available?               204-08
Plaintiff                       Minnetonka, MN         17     A Well, from the document, it appears that it was
                                                       18 in June of 2000.
07/21/80 - present                                     19     Q And how did you learn of the opening?
                                                       20     A Actually, Stephen Ward mentioned something
                                                       21 about it to me and suggested that I apply for it.
                                                       22     Q Had you ever applied for a position in HR?
                                                       23     A No.
                                                       24     Q Had you ever worked in HR while you'd been at
                                                       25 Cargill?
                                                    205: 1     A No.
                                                       ***
                                                    206:20      Q Did you discuss the position with anybody?
                                                       21     A Only with Stephen Ward, who suggested that I
                                                       22 apply.
                                                       23     Q Did he tell you why he was suggesting it?
                                                       24     A He told me that perhaps I'd be good in that
                                                       25 kind of a position. I got the distinct feeling he was
                                                    207: 1 trying to get me out of the department.
                                                       ***
                                                    208: 2     A                 . . . I think
                                                        3 I know who eventually got the position.
                                                        4     Q And who was that?
                                                        5     A I believe it was Karen Saks. (phonetic)

Dickson, Della         During   Admin                 278: 2 I                      . . . The people that I               278
Plaintiff            Employment Minnetonka, MN          3 know that have been successful in advancing their careers
                                                        4 have done so through personal relationships.
07/21/80 - present                                      5      Q Okay. And who is that?
                                                        6      A Nearly everyone in my group seemed to advance
                                                        7 their career through personal relationships, including
                                                        8 people like Richard Dolski, Doug Montgomery, Gene Van't
                                                        9 Hof.




                                                                        14
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Name / Empl. Dates   Time Frame Division / Location Evidence                                                                      Source
Dickson, Della          2000    Admin               291:25      Q Has Doug Montgomery received any positions for              291-94
Plaintiff                       Minnetonka, MN      292: 1 which he is not qualified?
                                                        2    A Yes.
07/21/80 - present                                      3    Q And what is that?
                                                        4    A When he was named rail leverage manager.
                                                       ***
                                                        8    Q And was this a position for which you had
                                                        9 applied?
                                                       10     A Yes.
                                                       11     Q And when did it become open?
                                                       12     A It became open after Richard Dolski departed
                                                       13 the North American Transportation Logistics Services area
                                                       14 and moved to corn milling. And that would have been the
                                                       15 summer of 2000.
                                                       ***
                                                       19     A I had applied for the position originally when
                                                       20 we were organizing CTI with Stephen Ward [Rail Leverage Manager]. I
                                                    had written
                                                       21 a short memo to him outlining the skills and the
                                                       22 experience that I had in negotiating rail rates for
                                                       23 Cargill over the past 15 years.

Dickson, Della          1998     Admin               293:17     Q And you indicated that you submitted a memo to            293-97
Plaintiff                        Minnetonka, MN        18 Mr. Ward?
                                                       ***
07/21/80 - present                                     21     A     . . . I got no response, other than the
                                                       22 announcement that -- that that position had been given to
                                                       23 Richard Dolski, and I was asked to assist on the rate
                                                       24 management team.
                                                       25     Q Did you tell him that you didn't want to assist
                                                     294: 1 on the rate management team?
                                                        2    A I didn't say I didn't want to assist on the
                                                        3 rate management team. I did say that I didn't think it
                                                        4 was a very challenging position and that someone with
                                                        5 lesser skills and experience could probably fill that
                                                        6 position.
                                                       ***
                                                     296:18     A Well, I don't believe Mr. Dolski has any
                                                       19 graduate experience; I have an M.B.A. I certainly have
                                                       20 worked in more positions, with more business units at
                                                       21 more locations. I was one of the chief negotiators for

                                                                       15
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Name / Empl. Dates    Time Frame   Division / Location Evidence                                                                    Source
                                                          22 our rail transportation contracts while I was in
                                                          23 oilseeds, handling basically all of the refined oils
                                                          24 contracts. I'm not aware that -- that he had any kind of
                                                          25 a track record in negotiating millions of dollars worth
                                                       297: 1 of contracts each year with the railroads.


Dickson, Della          1998       Admin               506: 5     Q Did you ever complain to Mr. Ward about not                506-07
Plaintiff                          Minnetonka, MN         6 being considered for any of the positions which you
                                                          7 discussed earlier?
07/21/80 - present                                       ***
                                                         10     A I did complain to him about not being selected
                                                         11 to -- to lead the rate management project. And I think
                                                         12 he talked to me about, you know, how important my
                                                         13 contribution could be on the team. I did talk to him
                                                         14 about not being selected the first time for the rail
                                                         15 leverage job.

Douglas, Virginia       1999       CIS                  67:15    Q Now, I want to talk about the time that you                 67-68
Plaintiff                          Chicago, IL           16 were a regulatory consultant from February 1st of 1999
                                                         17 until, I believe you testified, about April 1st of 2000.
12/03/90 - 11/29/00                                      18 Did anything occur during that time period when you were
                                                         19 regulatory accountant that you believe was somehow
                                                         20 discriminatory?
                                                         21     A Well, the way that I got the position, Dick
                                                         22 Driver had called me into his office and asked me if I
                                                         23 wanted to have -- take that position. He indicated that
                                                         24 Heidi and I would be switching positions. She would go
                                                         25 to treasury and I will be coming back to accounting as a
                                                        68: 1 regulatory. And I kind of remember him indicating that I
                                                          2 remember you showed interest in the position, something
                                                          3 to that effect, and so I accepted. And it was like maybe
                                                          4 six months after we were in our new positions, Heidi
                                                          5 became the treasury supervisor.




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Name / Empl. Dates      Time Frame Division / Location   Evidence                                                                           Source
Ford, Glenn               During   Administration        3. I stayed at Cargill until November 1996. When I left, I was running the    Para. 3
Declarant - Potential   Employment Minnetonka, MN        biggest press there (two color GTO) and my job title was Printer VII. For a
Class Member                       (Office Center)       very long time, I was the only one who knew how to use that machine. It
                                                         seemed that we were never really promoted in the printing department, just
12/08/69 - 11/01/96                                      that the machinery would advance and we would have to learn new
                                                         technology.

Fowler, Raymond E.         1997     Excel                3. I left Cargill in July 1997. I had been disappointed about not receiving Para. 3
Declarant - Potential               Wichita, KS          support from my manager, Mr. Hye, in terms of pursuing advancement          129
Class Member                                             opportunities. A headhunter called me concerning another opportunity with a
                                                         different company, so I left to pursue that opportunity.
04/20/92 - 07/17/97

Fowler, Raymond E.      1996-1997   Excel                6. I feel that I was passed over for two promotions while I was at Cargill.   Para. 6
Declarant - Potential               Wichita, KS          When Ms. Kennedy left, Mr. Hye was given her job, even though he had only 57-59, 111
Class Member                                             been there a year. The position was never posted. Management did not say
                                                         how Mr. Hye got the job. I felt that I should have at least been asked about
04/20/92 - 07/17/97                                      the job, but the decision was a 30 minute discussion behind closed doors. Mr.
                                                         Hye ended up with the job, even though I had more seniority and more Cargill
                                                         experience.
                                                         ***
                                                          111: 1 Q. Do you remember talking to anybody that you
                                                              2 felt that you had deserved that position
                                                              3 instead of Doug Hye?
                                                              4 A. No. Other than Doug Hye; we had an
                                                              5 interview and he thought -- he was surprised
                                                              6 that I didn't get the position and he did.
                                                             ***
                                                             11 Q. How did this conversation come about?
                                                             12 A. He set up interviews with all of the staff
                                                             13 and we had a luncheon and we went out and we
                                                             14 discussed particulars and that was one of
                                                             15 the first things that he said to me.




                                                                            17
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Name / Empl. Dates      Time Frame Division / Location Evidence                                                                              Source
Fowler, Raymond E.         1997    Excel               7. Shortly before I left, I had been looking on the Cargill website for job      Para. 7-8
Declarant - Potential              Wichita, KS         openings. I found a position for a Senior Consultant at my location. The         59-60
Class Member                                           posted qualifications were: knowledge of multiple functions of the company.
                                                       My abilities included payroll, financials, JDE support for Cargill worldwide and
04/20/92 - 07/17/97                                    knowledge of the following platforms: PC, midrange and mainframe. I met all
                                                       the posted qualifications. I had done a lot of payroll work and converting
                                                       systems. I was very knowledgeable of many of the functions the job required.
                                                       I felt I would be the most qualified candidate. I wanted to conduct further
                                                       research on the position, since it was newly created. I asked human
                                                       resources about the position, but they could not tell me anything about the job.
                                                       I asked human resources what I could do to be eligible for that position, but I
                                                       never got a response. Mr. Hye indicated to me that the only chance I had at
                                                       that position was if I learned to “walk on water” or something similar. I
                                                       became very discouraged at that point and so I never applied for the position
                                                       because I felt that without Mr. Hye’s support, I had no chance at the job.
                                                       8. I don’t think that anyone received the position while I worked at Cargill. I
                                                       was disappointed because I had really wanted that position. The position was
                                                       basically for an expert IT Consultant on multiple functions and platforms. The
                                                       person would have to know a lot about the whole company and be able to
                                                       multitask. I felt I was perfect for the position, yet the position remained open
                                                       because Mr. Hye would not support my application.

Gosby, Laverne H.         During   Excel                 6. I was aware that I was not the only African American who was denied a      Para. 6
Declarant - Potential   Employment Ottumwa, IA           promotion. I knew two African American women who worked at the corporate 202-03
Class Member                                             office in Minneapolis. We would talk from time to time on the phone, and they
                                                         often mentioned how they had not received promotions either. I believe they
11/23/87 - 04/20/96                                      ended up quitting shortly after I did to find better opportunities.


Hill, Michelle E.         During   CMD                   4. I do not remember ever seeing a posting for an open office position. As I   Para. 4
Declarant - Potential   Employment Kansas City, MO       understood the promotion process, job openings were not posted because
Class Member                                             Cargill’s managers already had people in mind for the open positions. It
                                                         seemed to me that Caucasian employees were favored in that process.
05/16/88 - 08/02/95




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Name / Empl. Dates      Time Frame Division / Location Evidence                                                                       Source
Hill, Michelle E.         During   CMD                 5. I had heard about other African Americans being denied promotions. For Para. 5
Declarant - Potential   Employment Kansas City, MO     example, Kim Rose, who worked in the traffic department, applied for several
Class Member                                           promotions, but she never advanced at Cargill.

05/16/88 - 08/02/95


Hill, Michelle E.         During   CMD                  6. The only people I saw receiving promotions were Caucasian employees. I Para. 6
Declarant - Potential   Employment Kansas City, MO      personally felt discriminated against because of my race and I felt that Cargill
Class Member                                            was discriminating against African Americans in general. I feel this way
                                                        because of my experience in not getting the supervisory position that I was
05/16/88 - 08/02/95                                     promised by Mr. Spears, Kim’s experience of repeated denials of promotions,
                                                        and observations of Caucasian employees getting promoted.

Jenkins, Jacqueline                                      79:15 A. I only recall, after my second assignment to                    79-80
Plaintiff                                                 16 Burns Harbor I recall Doug Childers telling me that
                                                          17 in the placement of minorities, they make every
07/11/88 - 09/01/97                                       18 attempt to place us where, it's pretty much a safe
                                                          19 type of environment to be in.
                                                          ***
                                                          23 . . . Not all environments are willing to
                                                          24 accept or embrace and help nurture, cultivate a
                                                          25 minority person to, a person of color to really
                                                         80: 1 mature and grow in the business. So the company was
                                                           2 making a special effort, pretty much, to place us
                                                           3 where they thought we could get the nurturing and
                                                           4 growth that we needed.
                                                           5 Q. And do you see anything wrong with that
                                                           6 approach?
                                                           ***
                                                          10 A. I think it's a personal decision. I should
                                                          11 be, I or any other person of color should be
                                                          12 presented opportunities, as a fair work environment
                                                          13 just presented an opportunity, and if there is some
                                                          14 objection on our part, I have not lived in an
                                                          15 environment that I can't live in, that I've
                                                          16 experienced difficulty, so I think I could live
                                                          17 anywhere, so they didn't have to be selective about
                                                          18 where they place me. You just put me there with the
                                                          19 job opportunity and I could do it.

                                                                          19
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Name / Empl. Dates    Time Frame   Division / Location Evidence                                                                    Source
Jenkins, Jacqueline                                    203:25 A. I discussed with Mr. McLain the evaluations.                  203-04
Plaintiff                                              204: 1 I cited that I didn't think they were fair. Every
                                                          2 opportunity I had in an evaluation mid-review I
07/11/88 - 09/01/97                                       3 expressed my concern about compensation, and
                                                          4 opportunities to be promoted, to learn other areas of
                                                          5 merchandising.

Little, Vivian          During   CIS                   80: 6      Many of the -- Many of the promotions and --                 80
Plaintiff             Employment Chicago, IL             7 and raises and bonuses that were given were -- were done
                                                         8 so on a very -- in a very subjective way. If you
11/17/97 - 03/10/03                                      9 happened to be buddies with your manager, if you went
                                                        10 out drinking after work and maybe you -- you visited
                                                        11 each other on the weekend and did things together, you
                                                        12 were more likely to -- to move ahead in the company
                                                        13 than -- you know, than a person who was African-American
                                                        14 and who did not do those things.

Little, Vivian           2000      CIS                 203: 25 Q. If I'm trying to put these in time order, it                 203-04, 208-09
Plaintiff                          Chicago, IL         204: 1 looks like the first one is January of 2000, where you
                                                          2 claim you didn't get a promotion to an IT customer
11/17/97 - 03/10/03                                       3 support analyst position, that went to Tony Bertronski?
                                                          4 A. Yes.
                                                          ***
                                                          7 Q. What was the position? What did it involve?
                                                          8 A. It was an IT customer support analyst, which
                                                          9 was basically a help desk position. I don't have the
                                                         10 information in front of me right now, so I can't tell
                                                         11 you all of the details. I cannot recall all of the
                                                         12 details.
                                                         13 Q. Was that a job that was posted somehow?
                                                         14 A. Yes, I believe it was posted.
                                                         ***
                                                       208:
                                                         22 Q. What is it that you think was discriminatory
                                                         23 against you based on race that Mr. Bertronski got that
                                                         24 position instead of you?
                                                         25 A. I was not given the opportunity to interview
                                                       209: 1 for it.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                      Source
Little, Vivian           2001    CIS                 243: 4 Q. Are you making any claims in this lawsuit with                243
Plaintiff                        Chicago, IL            5 respect to this possible promotional opportunity in May
                                                        6 of 2001?
11/17/97 - 03/10/03                                     7 A. I believe that any position that I would have
                                                        8 applied for at Cargill would have been impacted by the
                                                        9 claim of racial discrimination.
                                                        10 Q. Why?
                                                        11 A. Because of -- Because of the senior management,
                                                        12 because of the atmosphere that was tolerated at that
                                                        13 company.
                                                        14 Q. And the atmosphere you're referring to is the
                                                        15 atmosphere that you described yesterday with the
                                                        16 specific examples, correct?
                                                        17 A. It's that, and it includes -- it includes the
                                                        18 atmosphere that management could -- that it includes the
                                                        19 fact that management could discriminate against
                                                        20 African-American employees without fear of being
                                                        21 punished for that.
Mason-Robinson,         During   Salt                 283: 7 A. She voiced concern about particular managers                 283-84
Valerie               Employment Baltimore, MD          8 such as Venker and Schmit and how they did some
Plaintiff                                               9 things under the table and how it was a good ol' boy
                                                        10 network to a certain extent.
07/08/96 - 17/18/98                                     11 Q. Are you saying that [Ms. Tsgoinus, Customer Service Manager]
                                                     expressed concerns
                                                        12 that she thought Mr. Venker or other managers were
                                                        13 discriminating against people on the basis of race?
                                                        14 A. Yes.
                                                        15 Q. That's what she said to you?
                                                        16 A. I don't know if that was the exact words, but
                                                        17 we had discussions about discrimination.
                                                        18 Q. What discussions did you have about
                                                        19 discrimination?
                                                        20 A. We discussed how I felt wronged to a certain
                                                        21 extent.
                                                        22 Q. That you felt wronged about not getting
                                                        23 promotions?
                                                        24 A. That I felt like I had been done wrong.
                                                        25 Q. By not getting a promotion?
                                                     284: 1 A. Yes.



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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                   Source
Mason-Robinson,       1997-1998 Salt                 110:19 A. I was told that there was this system in place in            110-11
Valerie                          Baltimore, MD          20    Cargill, I'm not really sure of all the
Plaintiff                                               21    information, but Mike Venker had kind of said it
                                                        22    one day, that promotes people internally; and if
07/08/96 - 17/18/98                                     23    you get on this list, that you would kind of be
                                                        24    like a rising star within the organization. So I
                                                        25    don't think I was on that list.
                                                     111: 1 Q. Do you remember what it was called?
                                                        2 A. KEIS, I think KEIS system, something like that.
                                                        3    I'm not sure.
                                                        4 Q. When did you have that conversation with
                                                        5    Mr. Venker?
                                                        6 A. Somewhere between '97 and '98.

Mason-Robinson,          1997      Salt                138: 2 Q. Are you claiming that you are more qualified than          138-39
Valerie                            Baltimore, MD          3    Mr. Peterson [Caucasian] for that position?
Plaintiff                                                 4 A. I wouldn't say that exactly, but I did understand
                                                          5    the functions, the business functions of Cargill,
07/08/96 - 17/18/98                                       6    yes.
                                                          7 Q. So you felt you were qualified as well.
                                                          8 A. Yes.
                                                         ***
                                                       139: 8 Q. What is it about the selection of Frank Peterson
                                                          9    that makes you believe that he was selected -- or
                                                         10     that you were not selected because of your race?
                                                         11 A. I believe he was selected because it was like a
                                                         12     good-old-boy type of network. He knew him from
                                                         13     when they were buddies at their former company, so
                                                         14     he was basically giving his friend an opportunity,
                                                         15     and that's the way a lot of things work.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                 Source
Mason-Robinson,       1997-1998 Salt                 197:18 Q. And then it says that you were repeatedly denied           197-98
Valerie                          Baltimore, MD          19    promotions from July '97 to April '98, correct?
Plaintiff                                               20 A. That's what it says.
                                                        ***
07/08/96 - 17/18/98                                     23 Q. You also state here that none of your managers gave
                                                        24    you a valid reason for getting passed over. What
                                                        25    kind of reasons did they give you then?
                                                     198: 1 A. I don't think anybody ever really gave me a true
                                                         2   reason. They kind of -- I felt like I was ignored
                                                         3   and just told to sit there. My issue with that was
                                                         4   I was never given the opportunity to interview for
                                                         5   the position. Most things seemed to happen behind
                                                         6   closed doors, like, hey, you got the job, don't
                                                         7   worry about it. So by the time I found out the
                                                         8   position or it became public to everybody, it was a
                                                         9   done deal and it was -- I felt very ignored and
                                                        10    passed over.
Mason-Robinson,          1998      Salt               257:21 Q. What knowledge does Mr. Venker have of the                257-58
Valerie                            Baltimore, MD        22 job requirements, qualifications and performance
Plaintiff                                               23 issues that you've raised?
                                                        24 A. Well, as I stated yesterday, I spoke with him
07/08/96 - 17/18/98                                     25 personally regarding the different positions, and I
                                                      258: 1 had a conversation with him regarding my promotion to
                                                        2 a territory manager eventually, and he told me that I
                                                        3 had to wait and just, basically wait until he was
                                                        4 good and ready. That's the way it came towards me,
                                                        5 the tone of his voice, and I felt, from that
                                                        6 conversation with him, I was supposed to just grin
                                                        7 and bear it and just be happy I had a job to a
                                                        8 certain extent, and that was really unacceptable to
                                                        9 me because I had been on an emotional roller coaster
                                                        10 with Cargill and the different job opportunities that
                                                        11 had come up.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                    Source
Mason-Robinson,          1998    Salt                198:16 Q. To your knowledge, did any [Caucasians] find out faster       198-99
Valerie                          Baltimore, MD          17    than you did about any of the openings that came
Plaintiff                                               18    up, for instance, the Florida opening when the
                                                        19    territory manager was terminated?
07/08/96 - 17/18/98                                     20 A. Not from my understanding, but I know like when Kay
                                                        21    was promoted to her position as territory manager,
                                                        22    she was told that the job was hers, and I don't
                                                        23    think she went through any process. I think that's
                                                        24    one of the things that's wrong with Cargill. If
                                                        25    you're going to do something, do it right for
                                                     199: 1     everybody and be consistent. Don't just half do it
                                                        2    the way you think you feel like doing it because
                                                        3    it's a done deal. I think you have to have some
                                                        4    type of formalities within a company so you can
                                                        5    give everybody a fair chance to go in and do the
                                                        6    interview and say, hey, I could do this job if you
                                                        7    just give me a shot and just look at my past
                                                        8    record, versus just, you know, saying, sh, sh, hey,
                                                        9    you've got the job.

Mitchell, Michael        2000      WWPHOSPH /          54:21 Q. Did you apply for any other positions other                  54-56
Plaintiff                          PHOSPHPROD            22 than the TSR position while you were still in phos
                                   Tampa, FL             23 acid?
10/12/99 - 08/14/01                                      24 A. I looked into applying for some other
                                                         25 positions.
                                                       55: 1 Q. What positions were those?
                                                         2 A. One was an e-commerce position.
                                                         ***
                                                         19 Q. Did you fill out an application or take any
                                                         20 other action with respect to that position?
                                                         21 A. No.
                                                         22 Q. Why not?
                                                         23 A. Because when I looked on the Web site there
                                                         24 was like a note on the bottom that said, and I'm not
                                                         25 sure I'm quoting it, but something to the effect that
                                                       56: 1 a good candidate already identified. So it led me to
                                                         2 believe that they had already picked who they wanted
                                                         3 so I didn't apply.




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Name / Empl. Dates      Time Frame Division / Location Evidence                                                                               Source
Reece, Phyllis            During   CMD/CGD              89:15 A. Like I had mentioned, you know, when I asked                           89
Plaintiff               Employment Norfolk, VA            16 about being promoted to these positions at my --
                                                          17 white counterparts were given, they kept
03/03/93 - 01/02/00                                       18 brushing it off, stating that I would get my
                                                          19 opportunity.


Reece, Phyllis          1996-2000    CMD/CGD            236:18                                  . . . So I went                         236
Plaintiff                            Norfolk, VA          19     to Chesapeake with no raise, but was given extra
                                                          20     assignments and was placed in position where I
03/03/93 - 01/02/00                                       21     pretty much thought I was a maintenance
                                                          22     supervisor until towards the end I found out
                                                          23     that I was still categorized in a Production Low
                                                          24     Grade B position. And those are things that --
                                                          25     it wasn't told to me.
Reid, Angela Y.         1996-1998    FMD                5. . . . From my experience and observations, I felt that I and other African   Para. 5
Declarant - Potential                Charlotte, NC      Americans were limited to certain jobs and would never be able to advance       53-57 (03/30/04)
Class Member                                            into positions of higher pay or higher authority.                               77-80 (04/27/04)

10/16/95 - 01/14/100

Reid, Angela Y.            1997      FMD                7. While I worked at Cargill, I do not recall seeing job openings posted. I    Para. 7
Declarant - Potential                Charlotte, NC      found out about job openings through word of mouth. I never received a         57-68, 73-75
Class Member                                            promotion while at Cargill. In 1997, I applied for a promotion. There were two (04/27/04)
                                                        Asset Specialist positions involving Mobile Home closings. I believe that the
10/16/95 - 01/14/100                                    jobs were in our law department and the duties included assisting the
                                                        attorney. The qualifications for the position were knowledge of customer
                                                        service. I felt I met the qualifications. I told Ms. Ehrenfreund that I was
                                                        interested and she turned it over to Mr. Daugherty. I did not receive the
                                                        promotion. The positions went to Selina Porter (African American) and to
                                                        Jackie Icenhour (Caucasian). I know that Ms. Porter was more than qualified
                                                        for the position. I believe that I was more qualified than Jackie Icenhour.
                                                        Jackie Icenhour came in as a temporary worker and then she got the
                                                        promotion over me.




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Name / Empl. Dates      Time Frame Division / Location Evidence                                                                               Source
Reid, Angela Y.           During   FMD                 8. I think it was harder for African Americans to move up at Cargill. In general, Para. 8
Declarant - Potential   Employment Charlotte, NC       I felt that friends of the boss, mostly Caucasian males, were the ones who        82-84 (04/27/04)
Class Member                                           received promotions. Ms. Ehrenfreund was the only white female I know of
                                                       who ever got promoted into management. In addition to my experience, I also
10/16/95 - 01/14/100                                   saw other African Americans being denied or passed over for promotions. I
                                                       believe that Audrey Dixon (African American) was denied a promotion. She
                                                       had worked at Cargill a long time without a promotion.

Reid, Angela Y.            1996       FMD                 9. There was also a point where I was given more responsibility without a        Para. 9
Declarant - Potential                 Charlotte, NC       change in job title, pay grade or pay. After I had been at Cargill for about a   25-31 (04/27/04)
Class Member                                              year, I was asked to complete research on other accounts in addition to my
                                                          regular job duties. I felt that another person could have worked full time on
10/16/95 - 01/14/100                                      that job alone. Yet, here I was, doing my job and another job, and I did not
                                                          even get a raise.

Ross, Tonya                1996       Corn Milling         108: 19 Q. Did you think you should have been selected over                     108-09
Plaintiff                             Dayton, OH             20 Ms. Bogdanski for the position?
                                                             21 A. Yes.
12/10/91 - 06/16/01                                          22 Q. Why is that?
                                                             23 A. Because I had -- I did have some experience in
                                                             24 the customer service department. She held a
                                                             25 coordinator's position, I held a coordinator's position.
                                                           109: 1 And I was just as qualified as she was.
                                                             ***
                                                             14 A. Because I felt that she was a coordinator and I
                                                             15 was a coordinator. I don't know if they were at the same
                                                             16 level or not as coordinators. But I felt that she did
                                                             17 have a lot -- more opportunities to prepare herself for
                                                             18 management than I did. And the reason I say that is
                                                             19 because the department was sometimes frustrated because
                                                             20 she was out so much because she was either at a seminar
                                                             21 or another plant to benchmark processes or riding with a
                                                             22 sales rep. And all of those things are things that you
                                                             23 do to prepare you to obtain the knowledge that you need
                                                             24 to be a manager. And I don't think those same
                                                             25 opportunities were given to me because -- I just didn't




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                   Source
Ross, Tonya              1997    Corn Milling        249:19 Q. . . .                                                        249-50
Plaintiff                        Dayton, OH             20 . . . "Demotion from Corn Syrup Coordinator to High
                                                        21 Fructose Coordinator." Who communicated that to you?
12/10/91 - 06/16/01                                     22 A. Carl Hoy.
                                                        ***
                                                        25 . . . [H]e tried to make it seem like it
                                                     250: 1 was going to be on the same level as the corn syrup
                                                         2 coordination position but I knew that it wasn't because
                                                         3 the duties were very, very different. However, this was
                                                         4 right at the time of the cutbacks when they started to
                                                         5 shut down the plants, the product lines on the plants,
                                                         6 and he brought me into the office and he said, "Tonya,
                                                         7 the high fructose position has really changed and we need
                                                         8 somebody strong and detail oriented and we feel that you
                                                         9 can handle it," because I had been there for years so he
                                                        10 saw what my strengths were, and he said, "We need you to
                                                        11 kind of consider you taking the position." And I recall
                                                        12 asking him, "Do I have a choice?" And the answer was,
                                                        13 "No, not really, you don't have a choice." So they
                                                        14 basically they put me in the position.

Ross, Tonya              1997      Corn Milling        291: 1 A.           . . . In the beginning                           291
Plaintiff                          Dayton, OH            2 when I started prior to Marty taking that position, I
                                                         3 don't see from our reviews, from the comments that were
12/10/91 - 06/16/01                                      4 made on my reviews prior to Marty that there was any
                                                         5 reason why I should not have had that position, I
                                                         6 deserved that position and I did not get it, instead they
                                                         7 hired a less-qualified white male.

Scott, Charles           1995      Corn Milling        317:14 A. There was a position in East Chicago,                      317
Plaintiff                          Dayton, OH            15 Indiana.
                                                         16 Q. And what was the position?
02/11/91 - 05/02/98                                      17 A. Inside sales manager.
                                                         18 Q. And when was that open?
                                                         19 A. 1995 I believe.
                                                         20 Q. And when did you learn of the opportunity?
                                                         21 A. 1996.
                                                         22 Q. So you learned about it after it had been
                                                         23 filled?
                                                         24 A. Yes.

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Name / Empl. Dates      Time Frame Division / Location Evidence                                                                                Source
Scott, Charles            During   CFI                 576: 8 A. I would like to seek damages of lack of                                 576
Plaintiff               Employment Minnetonka, MN         9 opportunity for advancement. I mean it still to this
                                                          10 day behooves me how you can work for a company for
02/11/91 - 05/02/98                                       11 six, seven years, have positive performances, every
                                                          12 performance review you mention you want to progress
                                                          13 to the point you get into management level, and never
                                                          14 even had the opportunity to be trained in that type
                                                          15 of, go in that direction. Don't even be considered
                                                          16 seriously. This is my interpretation.

Sharp, Jacqueline T.      During   Corn Milling         5. I frequently wrote in my performance reviews that I would like to be           Para. 5
Declarant - Potential   Employment Memphis, TN          promoted. Each time that happened, my manager (Kathy Garrison, Dennis
Class Member                                            Diles or later Mitch Gardner—all Caucasian), would not agree with me. By
                                                        that I mean that every employee had the option to write about career goals,
09/20/83 - 03/06/96                                     promotions, etc at the end of the MBO review form, however, I was told that
                                                        obviously I could write there about wanting to be promoted, but since my
                                                        reviews were not that great, I would not receive a promotion. I felt very limited
                                                        in terms of promotional opportunities because I knew from those reviews that I
                                                        did not have the support of my managers. In addition, I never received any
                                                        information on management openings in my department. When a new
                                                        position would be created, someone would be brought in and the employees
                                                        would then be informed of the position and of the person hired for that
                                                        position, thus allowing no opportunities for me to apply for those positions.

Sharp, Jacqueline T.      During   Corn Milling         6. I often witnessed Caucasian employees who came in with less seniority and Para. 6
Declarant - Potential   Employment Memphis, TN          less experience, and they would be promoted even if they were new to that
Class Member                                            department. For instance, someone from another lab would come in and
                                                        become manager of the fructose lab without ever having worked on that lab
09/20/83 - 03/06/96                                     bench before. These positions were rarely posted, and so I found out about
                                                        them only after management announced the changes. Most of those
                                                        positions went to Caucasians. While I was with the fructose lab, there were
                                                        four female Caucasian managers and three male Caucasian managers. The
                                                        pattern of Caucasians in supervisory positions did not just occur in the
                                                        fructose lab; Caucasian males held most of the nine management positions
                                                        throughout the Memphis plant.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                    Source
Simmons, Clintonia      During   Corn Milling         46:11 A. I felt like my -- I felt like the opportunities              46
Plaintiff             Employment Memphis, TN            12 were not there that I believed in many years ago. I had
                                                        13 bad experiences in the workplace. I also questioned -- I
06/01/88 - 07/06/98                                     14 felt like I was being underpaid. And I felt like there
                                                        15 was discrimination in the workplace.


Simmons, Clintonia       1998      Corn Milling        139: 8 Q. In this lawsuit are you complaining that you were          139-144
Plaintiff                          Memphis, TN            9 discriminatorily denied any promotions?
                                                         10 A. Yes.
06/01/88 - 07/06/98                                      11 Q. What promotions are those?
                                                         12 A. One is the commercial manager position that I
                                                         13 just mentioned. The product manager's position was
                                                         14 eliminated and it was a natural progression to the
                                                         15 commercial managers because they had some of the similar
                                                         16 responsibilities. But I was not considered or offered
                                                         17 the position, and the position, the general manager,
                                                         18 Creager Simpson, I guess was the one responsible. I'm
                                                         19 not sure if he was totally responsible for it but I asked
                                                         20 him about it and he told me that well we already really
                                                         21 had some -- he said Well, it's a senior position so we
                                                         22 already have someone in mind for it.
                                                         ***
                                                       140:17 Q. Who was the successful candidate?
                                                         18 A. Oh, Kathy Garrison.
                                                         ***
                                                       141:17 Q. Would the position of commercial manager have
                                                         18 been a lateral move for you from your product manager
                                                         19 position?
                                                         20 A. I believe it would have been a step above the
                                                         21 product manager's position in that he called it a senior
                                                         22 position. It may have been like a grade level higher,
                                                         23 I'm not sure.
                                                         ***
                                                       142: 2 Q. Was it a posted position?
                                                          3 A. No.
                                                         ***
                                                       143:12 Q. Is Kathy Garrison Caucasian?
                                                         13 A. Yes.
                                                         ***


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Name / Empl. Dates    Time Frame   Division / Location Evidence                                                                              Source
                                                          21 A. I don't believe that she was any more qualified
                                                          22 than I was.
                                                          23 Q. Why?
                                                          24 A. Because we both had had similar experiences. She
                                                          25 had more experience on the technical side, but I had more
                                                       144: 1 experience on the sales side. I had dealt with customers
                                                          2 far more, I mean, since the beginning of my career; she
                                                          3 spent more time in-house. So we balanced each other out.

Smith, Candy            During   CIS                  103: 1   Q. Sure. I want to capture the whole time you                           103
McKinnon              Employment Chicago, IL            2 worked at Cargill, and all of the employees with whom
Declarant                                               3 you had any interaction, did anybody at Cargill say or
                                                        4 do anything that you felt was disriminatory based on
04/27/92 - 08/02/97                                     5 race during the time you worked for the company?
                                                        6    A. Well, no one said anything, but I didn't see
                                                        7 any African-Americans's being promoted.
                                                        8    Q. Anything other than that?
                                                        9    A. No.

Smith, Candy             1997      CIS                10. Then right before I left in 1997, I applied for the job of Assistant to the   Para. 10
McKinnon                           Chicago, IL        Office Manager position. The qualifications were not posted, but I felt with my 127-29
Declarant                                             background that I would be a perfect fit for that positions. I knew all that went
                                                      on in the office and I was very good at multi-tasking. Also, I had worked
04/27/92 - 08/02/97                                   closely with my manager and I had watched what she did. I did not receive
                                                      that position either. I think maybe Pam Bednarz (Caucasian) received that job
                                                      after I left.
Smith, Candy            During   CIS                  13. In addition to my situation, I witnessed other African Americans be denied Para. 13
McKinnon              Employment Chicago, IL          promotions. I remember that Virginia Douglas (African American) had applied 110-15
Declarant                                             for different positions and had been denied promotions. There was a guy
                                                      named Kennedy Jones (African American) who never got promoted and that
04/27/92 - 08/02/97                                   is why he left the company. Mr. Jones had trained Jeff Callard (Caucasian)
                                                      and Mr. Callard later got a promotion over Mr. Jones.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                          Source
Smith, Candy             1996    CIS                 9. In 1996, there was a job opening in the computer area. The job was posted Para. 9
McKinnon                         Chicago, IL         on the website. The qualifications were familiarity with computer terms and
Declarant                                            knowledge of computer software. I tried to apply for that position, but I was
                                                     told that I was not qualified. That position went to Ms. Keever. Ms. Keever
04/27/92 - 08/02/97                                  did have some computer knowledge, but she had that because Cargill had
                                                     given her more opportunities to learn different areas. I was not given those
                                                     same opportunities.

Tate, Tausha            During   Corn Milling          60:12       All right. Tell me how you believe you were                   60
Plaintiff             Employment Memphis, TN            13    discriminated against by Cargill.
                                                        14    A I feel like I was discriminated against by
06/15/98 - 04/14/00                                     15 Cargill based on my race, and I feel that that
                                                        16 discrimination led to me not being pulled off shift,
                                                        17 considered for a promotion. I also feel like that
                                                        18 discrimination forced me to resign.

Tyler, Emily          1993-1997    CIS                 48: 9 Q. When you were in the staff accountant                            48-49
Plaintiff                          Chicago, IL          10 position from 1993 to 1997, did anything occur that
                                                        11 you believe was somehow discriminatory?
05/26/92 - 08/05/00                                     12 A. Yes.
                                                        13 Q. What was that?
                                                        14 A. When Vito Demonte {Caucasian] was brought in as a
                                                        15 supervisor of accounts payable to the corporate
                                                        16 accounting area.
                                                        17 Q. Anything else?
                                                        18 A. When Trayce Biancalana [Caucasian] was made supervisor in
                                                        19 treasury.
                                                        20 Q. Anything else?
                                                        21 A. When I was told to transfer to a different
                                                        22 unit to get necessary experience to become a
                                                        23 supervisor, when that unit was disbanded two weeks
                                                        24 after I got there. When I was in an entry level
                                                        25 position for about a year.
                                                       49: 1 Q. Was that while you were a staff accountant?
                                                         2 A. Right. When I didn't get a salary review or
                                                         3 increase for 20 months. When a position posted for a
                                                         4 supervisor, a position I posted for, was given to
                                                         5 someone else less qualified.

                                                          6   Q. What position was that?

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Name / Empl. Dates    Time Frame   Division / Location Evidence                                                                  Source
                                                           7 A. That was financial controls supervisor.
                                                           8 Q. And who was it given to?
                                                           9 A. Michelle Reynolds. When I was told I could
                                                          10 not be the regulatory accountant because I didn't
                                                          11 have experience.
                                                          ***
                                                          18 Q. Anything else while you were a staff
                                                          19 accountant between 1993 and 1997?
                                                          20 A. When I was repeatedly told that supervisory
                                                          21 positions were being eliminated as I requested a
                                                          22 supervisory position. There's probably more but
                                                          23 that's all I can remember at this time. . .



Tyler, Emily          1993-1997    CIS                 50:15 . . . What about Vito Demonte's arrival at CIS                  50-51
Plaintiff                          Chicago, IL          16 was somehow discriminatory?
                                                        17 A. I'm not saying anything about his arrival at
05/26/92 - 08/05/00                                     18 CIS was discriminatory.
                                                        19 Q. What was discriminatory?
                                                        20 A. His receiving the position of accounts
                                                        21 payable supervisor.
                                                        22 Q. Okay. Was this a posted position?
                                                        23 A. No.
                                                        24 Q. Was it a position that you had expressed any
                                                        25 interest in?
                                                       51: 1 A. I wasn't aware that the position existed. It
                                                         2 was a position I was informally doing.
                                                         3 Q. Was it a newly created position when Vito
                                                         4 Demonte came into the position?
                                                         5 A. Yes.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                        Source
Tyler, Emily             1996    CIS                  79: 25 A. That position [Financial Control Supervisor] became available   79-81, 84
Plaintiff                        Chicago, IL         when I was
                                                      80: 1 still a position controls balancer. I posted for
05/26/92 - 08/05/00                                      2 that, and I believe Bill Kelly told me that he had
                                                         3 heard that it was already slotted for Michelle
                                                         4 Reynolds, but nevertheless I posted for it.
                                                         ***
                                                        18 Q. Did you interview for the position?
                                                        19 A. Yes.
                                                        ***
                                                        22 Q. Other than Michelle Reynolds, do you know of
                                                        23 anyone else who posted for the financial controls
                                                        24 supervisor position?
                                                        25 A. No, I don't.
                                                      81: 1 Q. Do you know who made the decision to place
                                                         2 Michelle Reynolds in that position?
                                                         3 A. No, I don't.
                                                         4 Q. Is John Brucker Caucasian?
                                                         5 A. Yes.
                                                        ***
                                                      84: 6 Q. Why do you believe that Michelle Reynolds'
                                                         7 promotion to that position was somehow discriminatory
                                                         8 vis-a-vis you?
                                                         9 A. Because I feel I was the better qualified
                                                        10 candidate. I had performed the functions of that
                                                        11 job, but on a broader scale for the whole company
                                                        12 rather than just two product lines.
                                                        13 Q. Would that have been a lateral move for you?
                                                        14 A. No, that would have been a promotion.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                     Source
Tyler, Emily             1997    CIS                 107: 4 A. This was a, David List was the temp I hired                   107, 109-10
Plaintiff                        Chicago, IL            ***
                                                         7                                    . . . after
05/26/92 - 08/05/00                                      8 completing the budget process they made him a
                                                         9 manager. I felt that was discriminatory.
                                                        ***
                                                        22 Q. Do you know if the position was posted?
                                                        23 A. I don't believe the position was posted.
                                                        ***
                                                     109: 18 Q. So do you believe that you were more
                                                        19 qualified to hold the position of financial controls
                                                        20 manager than was David List?
                                                        21 A. I believe so.
                                                        22 Q. Why?
                                                        23 A. Because I had relevant CIS experience in all
                                                        24 aspects of the profit and loss, the financial
                                                        25 reporting, and I had, I was more familiar with the
                                                     110: 1 business.

Tyler, Emily            During   CIS                    254:19 Q. What, if anything, did Shaun O'Brien do that               254-55
Plaintiff             Employment Chicago, IL              20 you believe was somehow discriminatory?
                                                          21 A. I believe he demoted me to this third party
05/26/92 - 08/05/00                                       22 disbursements manager, created a position above me,
                                                          23 grade level 12, and put David List into that
                                                          24 position. My previous position as accounting
                                                          25 manager, gave that to Richard Levin, who had only
                                                        255: 1 been with the company eight months. That's all I can
                                                          2 think of right now.

Tyler, Emily            During   CIS                    256:11 Q. Do you believe that Don Zyck intentionally                 256-57
Plaintiff             Employment Chicago, IL              12 discriminated against you on the basis of your race?
                                                          13 A. Yes, I do.
05/26/92 - 08/05/00                                       14 Q. Why?
                                                          15 A. As I consistently asked for a supervisor
                                                          16 position I was told first one thing, then another;
                                                          17 supervisory positions were going to be eliminated,
                                                          18 when in fact two new positions were made available,
                                                          19 filled by Caucasians. I was told I was too nice to
                                                          20 be a supervisor, which I don't understand that at
                                                          21 all. I was told -- let me think -- that he was going


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                                                           22 to develop a nonsupervisory track that I would fall
                                                           23 into to advance, he and Steve Leone, something
                                                           24 different. That certainly never even came about,
                                                           25 even though it was not the norm that everyone else
                                                        257: 1 had used to advance within CIS. You advanced from
                                                           2 one grade level to another grade level, there was no
                                                           3 alternate track that was there. As a matter of fact,
                                                           4 it never did come about. . .


Williams, Jacqueline     1996       Fertilizer         143:17 Q. What information does Mr. Singleton have                     143-44
Plaintiff                           Tampa, FL            18 about the lost promotion?
                                                         19 A. In 1996 when I found out that I really wasn't
06/07/93 - 05/08/02                                      20 an I/T technical analyst and was an associate, I
                                                         21 talked to Jay about it and he told me that he had
                                                         22 talked to Phillipe about it and that in his opinion I
                                                         23 should have been promoted to a technical analyst a
                                                         24 long time ago. And that's all that I remember.
                                                         25 Q. Did he tell you what Phillipe's response was?
                                                       144: 1 A. No.
                                                         2 Q. Did you ever talk to Phillipe about whether
                                                         3 you should have been promoted from associate to
                                                         4 analyst?
                                                         5 A. Yes.
                                                         6 Q. What was Phillipe's response when you talked
                                                         7 to him about that?
                                                         8 A. That he agreed that the skill set was in,
                                                         9 technical skill set was appropriate for the technical
                                                         10 analyst position, but he didn't feel like I should be
                                                         11 promoted at that time. And that if not being a
                                                         12 technical analyst was going to be the only thing that
                                                         13 prevented me from getting a job in Fertilizer, then
                                                         14 he would promote me.




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                 Source
Willis, Cheryl           1999    Salt                194: 25 A. I believe that I was being demoted because of             194-95
Plaintiff                        Baltimore, MD       195: 1 my race because up until that time when I look at
                                                        2 other African-Americans that had also gone through
06/02/86 - 05/01/01                                     3 corporate I/T starting as an entry-level hire, no one
                                                        4 was able to get beyond the position that, of senior
                                                        5 business analyst, or at least to, to my recollection
                                                        6 no one else was able to move over into what would
                                                        7 have been a consultant or manager position from that
                                                        8 entry level area. There -- and when I did move into
                                                        9 that position I saw the continuous efforts for
                                                        10 preventing me from, from trying to, to work as a, as
                                                        11 a consultant, as I had mentioned earlier.
                                                        12      And I look at that, that pattern, and where I
                                                        13 was hoping that progress was actually taking place by
                                                        14 allowing me to move into that area, in fact it
                                                        15 appeared to the contrary, that efforts were being
                                                        16 made to put me back in my place, which would have
                                                        17 been a nonmanagement, nonconsultant position.




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Willis, Cheryl          During   Salt                215:18 Q. Okay. What promotions are you claiming were                215-16
Plaintiff             Employment Baltimore, MD          19 denied to you on the basis of your race?
                                                        20 A. As I, as I mentioned before, it was the, the
06/02/86 - 05/01/01                                     21 pattern.
                                                        ***
                                                     216: 1 that if I actually was an individual that was
                                                         2 considered to be a significant contributor, that
                                                         3 efforts would have been made to go forward in my
                                                         4 behalf in retaining me and allowing me to, to move on
                                                         5 to, to other positions.
                                                         6       After several attempts to take on positions,
                                                         7 it became clear to me that Cargill was saying that
                                                         8 they did not want my services.
                                                        ***
                                                        14 A. I believe that if I had been a white
                                                        15 individual that the position with Mike McFarlane
                                                        16 would have been offered to me as a business
                                                        17 consultant. I believe that if I had been a white
                                                        18 individual that the position as education manager
                                                        19 would have been offered to me. I believe that if I
                                                        20 had been a white individual my efforts to work in
                                                        21 Harv Kapsner's group within the project management
                                                        22 area would have been offered to me. I believe that
                                                        23 there were more positions that I can even recall that
                                                        24 I would have received, and promotions I would have
                                                        25 made if I were a white individual.




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Willis, Cheryl           1999    Salt                217: 1 Q. Why do you believe that your situation with                 217
Plaintiff                        Baltimore, MD          2 respect to Mike McFarlane's position would have been
                                                        3 any different had you been white?
06/02/86 - 05/01/01                                     4 A. Because I saw other people in his area that
                                                        5 were not people of color progress, and progress
                                                        6 quickly with less years of experience.
                                                        7 Q. Who? Who were those white people?
                                                        8 A. Again I don't recall the specific names, but
                                                        9 I know while I was in the department there were
                                                        10 several individuals that were moved to newly created
                                                        11 supervisory positions that had only been with Cargill
                                                        12 a few years. When I look at the progression of some
                                                        13 of the other individuals, . . .
                                                        14     . . . again with less number of, of
                                                        15 years' experience, opportunities were made for her
                                                        16 that were not, that were not being given to me.

Willis, Cheryl           1999      Salt                237: 3 A. What I'm claiming is that there was a case                237
Plaintiff                          Baltimore, MD         4 where an individual, in this case a white female, was
                                                         5 valued by Cargill, and in being valued by Cargill
06/02/86 - 05/01/01                                      6 there were efforts made to temporary place her and
                                                         7 then move her on to greater endeavors after that.
                                                         8       What I recall is in looking at the job
                                                         9 descriptions, the job description for that particular
                                                         10 position, that if we went based on responsibilities
                                                         11 and contributions and so forth, that I would have
                                                         12 been an ideal candidate. I call it discrimination
                                                         13 because the senior manager, Harv Kapsner, and me
                                                         14 talking to him, just told me two things within the,
                                                         15 within the same conversation; I don't even know what
                                                         16 you do, and then to say, you know, you're not going
                                                         17 to, to get this position. So I wasn't, I wasn't even
                                                         18 being considered. And if I'm not being considered
                                                         19 for a position and he doesn't even know what I do,
                                                         20 why wouldn't he take the time to find out what I,
                                                         21 what I did at least?




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Willis, Cheryl           1999    Salt                291: 4 A. Well, if I may, I'd like to step just a tad               291
Plaintiff                        Baltimore, MD          5 bit before January of 2000 because it's all related.
                                                        6 I had indicated to Nancy Parten and Harv my interest
06/02/86 - 05/01/01                                     7 in eBusiness and becoming more involved with
                                                        8 eBusiness and seeing it as an opportunity for
                                                        9 development. Not just for myself but for the, for
                                                        10 the company. And I submitted actually a document to
                                                        11 them that, that put together a program as to how I
                                                        12 could become a major contributor or consultant in
                                                        13 that area. So -- and they basically said, you know,
                                                        14 no, we can't do this, period.

Willis, Cheryl          During   Salt                 301: 4 Q. Okay. And I believe you testified that he                301
Plaintiff             Employment Baltimore, MD          5 was doing something more for Shannon Bonkrude. What
                                                        6 more was he doing for Shannon Bonkrude than what he
06/02/86 - 05/01/01                                     7 was doing for you?
                                                        8 A. He kept telling her about positions that he
                                                        9 heard about within, within Cargill. Shannon told me
                                                        10 that he called her after she had left Cargill,
                                                        11 following up with her to see how things were going.
                                                        12 And I never, you know, received any phone calls like
                                                        13 that. I don't know if he gave her tips outside of
                                                        14 the Cargill walls, but I do recall her talking about
                                                        15 internal positions.
                                                        16 Q. Was Shannon conducting her job search from
                                                        17 home or from the office?
                                                        18 A. She did some of both.

Wint, Steve           2001-2002    Salt               148: 3 Q. Okay. With respect to promotions, what do you            148
Plaintiff                          Tampa, FL             4 mean when you say "promotions"?
                                                         5 A. At the time that they were hiring for shift
04/17/00 - 02/26/04                                      6 coordinator for second shift I was not
                                                         7 considered. It was never posted.
                                                         8 Q. When was that?
                                                         9 A. Between 2001 and 2002.
                                                        10 Q. Who was the manager at the time?
                                                        11 A. Jim Crawford.
                                                        ***
                                                        17 Q. At the time that Mr. McDorman was made
                                                        18 coordinator of second shift was he an employee

                                                                        39
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                                                          19 on second shift?
                                                          20 A. First shift.
                                                          21 Q. And Mr. McDorman is -- is he Caucasian?
                                                          22 A. He's Caucasian.

Wint, Steve             2000       Salt               197:19       Do you believe that the decision to leave              197-98
Plaintiff                          Tampa, FL            20 you at a Process Tech IV as opposed to moving
                                                        21 you to a Process Tech V was made based on your
04/17/00 - 02/26/04                                     22 race?
                                                        23 A. Yes, I believe so.
                                                        24 Q. All right. Why?
                                                        25 A. Because to be a proc -- to be a shift
                                                      198: 1 coordinator you have to be a Process Tech V.
                                                        2 You have to have general knowledge of all areas
                                                        3 of the facility. Alan McDorman did not. And he
                                                        4 was -- he was promoted to a shift coordinator
                                                        5 in -- intent that he was to be Process Tech V,
                                                        6 because you cannot be a Process Tech IV and be a
                                                        7 shift coordinator. So he was moved up to that
                                                        8 position. So automatically he would have to be
                                                        9 Process Tech V. And he had no knowledge of the
                                                        10 dome or shipping and warehouse duties.




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Wint, Steve              2000    Salt                228: 3 Q. With respect to the third item that you                  228-29
Plaintiff                        Tampa, FL               4 mentioned this morning involving Rafeall Boyd, tell me
                                                         5 about that situation, why you believe that the treatment
04/17/00 - 02/26/04                                      6 of Mr. Boyd was somehow discriminatory.
                                                         7 A. Mr. Boyd has years of experience coming from a
                                                         8 northern salt plant. And in our facility, he was one of
                                                         9 the employees that trained employees such as John Smith
                                                        10 and Corey Montgomery and myself and Otis Jones, lot of
                                                        11 other employees. Even when the shift coordinator
                                                        12 position was given to Corey Montgomery and John Smith and
                                                        13 there was another posting -- another position open up for
                                                        14 shift coordinator on second, it was never offered to him,
                                                        15 although he has years of experience in the company. It
                                                        16 went to a lesser-experienced employee.
                                                        ***
                                                        19 Q. Who was the employee who became the shift
                                                        20 coordinator on second shift?
                                                        21 A. Alan McDorman.
                                                        22 Q. How long had Mr. McDorman been in the company at
                                                        23 the time?
                                                        24 A. Less than a year.
                                                        ***
                                                      229: 9 Q. Has Mr. Boyd told you that he believed that
                                                        10 there was something discriminatory about that?
                                                        11 A. Yes.
                                                        12 Q. What did he say?
                                                        13 A. "I can't believe they gave the position to
                                                        14 someone else and why they couldn't give it to me."




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Wint, Steve              2003    Salt                230: 4 Q. In terms of the production manager position,                  230-31
Plaintiff                        Tampa, FL               5 when was that position awarded? And that was for Mr.
                                                         6 Toloday, right?
04/17/00 - 02/26/04                                      7 A. Yes.
                                                         8 Q. When was that again?
                                                         9 A. I believe June, July.
                                                        10 Q. Of this year?
                                                        11 A. 2003.
                                                        ***
                                                        14 Q. Who made that hiring decision?
                                                        15 A. I only know of one person, Mike Anderson.
                                                        16 Q. Did Mr. Boyd complain to you that he thought
                                                        17 that there was something discriminatory about that
                                                        18 decision?
                                                        19 A. Yes.
                                                        20 Q. What did he say?
                                                        21 A. "I could have gotten -- I should have and I
                                                        22 could have done that job."
                                                        23 Q. And did Mr. Boyd tell you that he believed that
                                                        24 there was something racially discriminatory about that
                                                        25 decision?
                                                     231: 1 A. Yes.
                                                         2 Q. What did he say about that?
                                                         3 A. "See, there again, they're bringing in another
                                                         4 white person in to do a job because they don't think any
                                                         5 of us African Americans could do it."

Wright, Sean            During   NAGOC                  104:13     Q Have you now told me all ways in which you              104
Plaintiff             Employment Minnetonka, MN           14 believe Mr. Kohler discriminated against you?
                                                          15     A No. I also believe he discriminated as far as
05/19/97 - 08/05/00                                       16 grooming me for the next level, for promotion, for
                                                          17 getting the word out to other managers or other personnel
                                                          18 of potential jobs that were out there that I might be a
                                                          19 good fit for, that would be a good learning experience
                                                          20 for me and that would help further my career. I don't
                                                          21 believe that I was compensated as well as my peers. And
                                                          22 I certainly wasn't evaluated as objectively as my peers,
                                                          23 I feel. . .




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Name / Empl. Dates    Time Frame Division / Location Evidence                                                                 Source
Wright, Sean            During   NAGOC               136: 12      A It's kind of unwritten policy at Cargill that         136-37
Plaintiff             Employment Minnetonka, MN         13 you don't, per se, go to your boss and say I want to be
                                                        14 transferred, transfer me now, or that nature. It's kind
05/19/97 - 08/05/00                                     15 of the network where they choose you as to who they want
                                                        16 to move, who they don't want to move. It's kind of --
                                                        17 they just kind of come, take you in an office one day and
                                                        18 say, We have this opportunity, you know, we'd like for
                                                        19 you to take it. There isn't -- even though there is a
                                                        20 job postings website, the majority of -- I'd say
                                                        21 90 percent, roughly, of the moves within Cargill are done
                                                        22 that way, where somebody has given the nod and they go
                                                        23 and they -- and they talk about, you know -- they arrange
                                                        24 it, and then they go talk to the person and they say,
                                                        25 Well, we have this opportunity that we'd like for you to
                                                     137: 1 take it, what do you think? And that's just how it's
                                                        2 done.




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